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                                                                 Page 1
                    IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEW MEXICO


      KIMBERLY BECK and TRAVIS LORENTZ,
      INDIVIDUALLY and as PERSONAL
      REPRESENTATIVES of CHARLES "GAGE"
      LORENTZ, DECEASED,
                Plaintiffs,
      VS.                             No. 2:20-cv-01280-MV-SMV
      UNITED STATES OF AMERICA and
      ROBERT JOHN MITCHELL, INDIVIDUALLY
      and in his OFFICIAL CAPACITY as a
      NATIONAL PARK RANGER,

                Defendants.


               ****************************************
         VIDEOTAPED DEPOSITION OF RANGER ROBERT JOHN MITCHELL
                            March 29, 2022
                               9:09 a.m.
                     201 Third St. NW, Suite 900
                    Albuquerque, New Mexico 87102
              *****************************************


               PURSUANT TO THE FEDERAL RULES OF CIVIL
      PROCEDURE, this deposition was:


      TAKEN BY:      Ms. Shannon L. Kennedy
                     ATTORNEY FOR PLAINTIFFS

      REPORTED BY:Annette G. Aragon, NM CR #197
                  Paul Baca Professional Court Reporters
                  500 Fourth Street NW, Suite 105
                  Albuquerque, New Mexico 87102




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                                                                   Exhibit A
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                                                        Page 142                                                    Page 144
 1          Q. Have you ever been trained when using a             1         A. The Taser device carries two cartridges; if
 2    Taser to control a resisting subject to avoid the chest      2    you've used one, then you would use the other.
 3    area?                                                        3         Q. And would you use the other by pulling the
 4        A. No. The chest is the optimal area.                    4    trigger once again?
 5          Q. That's your training, that the chest is the         5         A. Yes.
 6    optimal area?                                                6         Q. Is there any time you were trained to pull
 7        A. Yes.                                                  7    the trigger more than twice to deploy cartridge one and
 8          Q. Have you received any training about cardiac        8    cartridge two?
 9    arrest arising from Taser probes going into the chest of     9            MS. LYMAN: Objection. Foundation.
10    a subject?                                                   10        A. No, not that I remember.
11            MS. LYMAN: Objection. Form and foundation.           11        Q. (BY MS. KENNEDY) Okay. So did you act
12          A. It's been discussed in training that that           12   pursuant to your training when deploying a Taser to pull
13    could occur.                                                 13   the trigger once to deploy cartridge one and once to
14          Q. (BY MS. KENNEDY) So in spite of the fact            14   deploy cartridge two?
15    it's been discussed in training that by shooting someone     15           MS. LYMAN: Objection. Form. Foundation.
16    in the chest with a Taser that you have a cardiac arrest,    16        A. Yes.
17    you still do not consider that to be a no-strike zone?       17        Q. (BY MS. KENNEDY) Were you also trained
18             MS. LYMAN: Objection. Form and foundation.          18   to -- in the tactic of drive stun?
19          A. No.                                                 19        A. Yes.
20          Q. (BY MS. KENNEDY) Why not?                           20        Q. And how do you deploy a Taser in drive-stun
21          A. Well, the chest is the optimal area.                21   mode?
22          Q. That's what you were trained, that the chest        22        A. So once both cartridges have been deployed,
23    was the optimal area for --                                  23   you can use the Taser in drive-stun by making contact
24        A. It's the large --                                     24   with the suspect's skin.
25          Q. -- the probe?                                       25        Q. And what's -- when you say "make contact,"


                                                        Page 143                                                    Page 145
 1         A. It's typically the largest area on most               1   you make contact with the end of the Taser onto the
 2    people.                                                       2   suspect's skin. Correct?
 3         Q. My question was: Was it your training that            3       A. Yes.
 4    shooting a probe into the chest of a subject that was         4        Q. And once you do that, how many times do you
 5    unarmed was the optimum area for putting the probes on a      5   pull the trigger?
 6    subject?                                                      6           MS. LYMAN: Objection. Foundation.
 7         A. Yes.                                                  7        Q. (BY MS. KENNEDY) In your experience and
 8              MS. LYMAN: Objection. Form and foundation.          8   training.
 9         Q. (BY MS. KENNEDY) And did you receive that             9        A. Okay. You would do it once and then
10    training months before March of 2020?                        10   reassess.
11              MS. LYMAN: Objection. Form.                        11        Q. And you pull the trigger once and reassess.
12         A. I believe that has come up in every training         12        A. Yes.
13    that I've attended.                                          13        Q. You are aware when you pull a cartridge that
14         Q. (BY MS. KENNEDY) When you pull the trigger           14   the Taser cycles for five seconds?
15    on the Taser to make a probe -- or cartridge one, how        15        A. Yes.
16    many times do you pull the trigger?                          16       Q. Once you pull the first cartridge, have you
17         A. You would pull it once to deploy the                 17   been trained to reassess?
18    cartridge.                                                   18          MS. LYMAN: Objection. Foundation.
19         Q. Okay. And what happens if you pull it once           19       A. Yes.
20    and deploy the cartridge and it doesn't hit the subject      20       Q. (BY MS. KENNEDY) And then you pull the
21    or the subject doesn't respond to it?                        21   second cartridge. It cycles for another five seconds.
22         A. Okay. Then you would normally deploy the             22   Correct?
23    second cartridge.                                            23       A. Yes.
24         Q. Why would that be normally the next thing            24       Q. And then you're trained after you do that,
25    you do?                                                      25   you reassess?



                                                                                    37 (Pages 142 to 145)
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                                                       Page 170                                                           Page 172
 1    asking me?                                                   1           A. That's what we're taught. You can deploy
 2         Q. (BY MS. KENNEDY) Did you understand that a           2   the cartridge. You can deploy the second cartridge. And
 3    Taser is effective for a limited period of time?             3   if you have a dart in the suspect, you may attempt to
 4         A. Yes.                                                 4   drive stun.
 5         Q. And yet you thought -- decided to take the           5           Q. So when you closed distance on Gage to
 6    fight to Gage to subdue him with a Taser that you knew       6   attempt to drive stun him, you thought you had a dart in
 7    was effective only for a limited period of time.             7   him?
 8         A. Yes.                                                 8       A. Yes.
 9         Q. You shot the Taser once. Correct?                    9           Q. Why did you think that?
10         A. Yes.                                                10           A. I could see it in his chest.
11         Q. And it did not subdue him?                          11           Q. You could also see that he was not becoming
12         A. Correct.                                            12   incapacitated. Correct?
13         Q. And then you decided to close distance on           13       A. Yes.
14    Gage to subdue him with the Taser.                          14           Q. You could see the dart in his chest or you
15             MS. LYMAN: Objection. Form and foundation.         15   could see the dart in his jacket?
16         Q. (BY MS. KENNEDY) Is that correct?                   16       A. It was in his jacket.
17         A. I believe I deployed the second cartridge.          17           Q. So you could not see whether the dart had
18         Q. So your testimony here today under oath is          18   actually gotten into his skin?
19    you now believe you deployed the second cartridge before    19       A. Correct.
20    you closed distance on Gage?                                20           Q. And in fact, given his physical reaction, it
21         A. That's what I think.                                21   appeared that the dart had not gotten into his skin.
22         Q. Why do you think that now?                          22          MS. LYMAN: Objection. Form and foundation.
23         A. I think that I thought that all along.              23           Q. (BY MS. KENNEDY) Correct?
24         Q. Why do you think -- why do you think that's         24           A. No. It -- there's no way for me to tell
25    what happened?                                              25   that.


                                                       Page 171                                                           Page 173
 1         A. To the best of my knowledge, I deployed both         1           Q. Well, you could tell that it wasn't
 2    cartridges. I can't remember everything.                     2   incapacitating him. Correct?
 3         Q. So the best of your knowledge, you deployed          3           A. I could tell that it wasn't incapacitating
 4    both cartridges before closing distance on Gage?             4   him. That's correct.
 5         A. Yes.                                                 5           Q. And so you're saying: I don't know how many
 6         Q. So after both cartridges failed to subdue            6   prongs were or were not in him. All I could was there
 7    Gage, you thought you could close distance on Gage and       7   was a prong in his jacket before I closed distance. Is
 8    subdue him with the Taser?                                   8   that what you're testifying to?
 9            MS. LYMAN: Objection. Form and foundation.           9           A. Yes.
10         A. Yes.                                                10           Q. Would it be objectively reasonable to take
11         Q. (BY MS. KENNEDY) And why did you think you          11   the fight to another person when you know you're going to
12    could subdue Gage with the Taser in your hand by closing    12   lose the fight?
13    distance on him?                                            13              MS. LYMAN: Objection. Form and foundation.
14         A. That's consistent with the training.                14           A. Could you please repeat that.
15         Q. How is that consistent with the training?           15           Q. (BY MS. KENNEDY) Would it be objectively
16         A. The use of the drive-stun.                          16   unreasonable to take the fight to another person when you
17         Q. So you thought you could close distance on          17   know you're going to lose the fight?
18    Gage Lorentz and use this Taser in drive-stun mode to       18           A. Yes.
19    subdue him?                                                 19           Q. Would you agree with me that it is
20         A. Yes.                                                20   objectively unreasonable to take the fight to another
21         Q. Why?                                                21   person unless you reasonably believe that you are capable
22         A. That's consistent with the training on using        22   of subduing the other person without resort to deadly
23    the Taser.                                                  23   force?
24         Q. How is that consistent on the training on           24              MS. LYMAN: Objection. Form and foundation.
25    using the Taser?                                            25           A. I believe that, yes, that you could subdue



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                                                    Page 194                                                            Page 196
 1    walkthrough?                                                 1       Q. (BY MS. KENNEDY) Based on your training at
 2         A. I didn't know that we were doing a                   2   the time of this walkthrough, you had no understanding or
 3    walkthrough and I don't know who suggested it.               3   awareness that you had done anything wrong?
 4         Q. Did you have any concerns about giving a             4           MS. LYMAN: Objection. Form.
 5    statement to law enforcement agencies after having taken     5       A. It was my understanding that we'd had a
 6    a human life?                                                6   shooting and it needed to be investigated. I was willing
 7            MS. LYMAN: Objection. Form and foundation.           7   and prepared to tell them what they were going to ask.
 8         A. No.                                                  8       Q. (BY MS. KENNEDY) And you were willing and
 9         Q. (BY MS. KENNEDY) And why not?                        9   prepared to tell them what they were going to ask because
10         A. I believe that it's consistent with my              10   it was your understanding you were involved in the
11    training, that you would be expected to give a statement    11   investigation of an officer-involved shooting.
12    following an officer-involved shooting.                     12       A. Yes.
13         Q. So -- so you thought you were giving a              13       Q. And based on your training and experience,
14    statement involving an officer-involved shooting to         14   you thought you had done nothing wrong.
15    fellow law enforcement officers who were investigating      15           MS. LYMAN: Objection. Form.
16    whether the shooting was justified?                         16       A. Correct.
17            MS. LYMAN: Objection. Form and foundation.          17       Q. (BY MS. KENNEDY) I'm going to continue to
18         A. Yes.                                                18   play Plaintiffs' Exhibit B.
19         Q. (BY MS. KENNEDY) You didn't think that you          19             (Video played.)
20    were potentially facing criminal charges?                   20       Q. (BY MS. KENNEDY) Okay. Is that you
21         A. No, I don't think I was thinking that.              21   pointing out a tire track that you believed was a tire
22         Q. Why weren't you concerned that you could be         22   track of Gage Lorentz's vehicle? And that is at time 3
23    potentially facing criminal charges after having taken a    23   minutes and 13 seconds in Plaintiffs' Exhibit B.
24    human life?                                                 24           MS. LYMAN: Objection. Foundation.
25            MS. LYMAN: Objection. Form.                         25       A. Yes.


                                                    Page 195                                                            Page 197
 1         A. I knew that that was a possibility, but              1        Q. (BY MS. KENNEDY) Why did you believe that
 2    nobody had ever told me that I was going to be charged       2   was a tire mark left by the driving of Gage Lorentz?
 3    with anything.                                               3       A. I think that it led up to where the sign
 4         Q. (BY MS. KENNEDY) Okay. So you knew it was            4   post had been.
 5    a possibility that you could be charged for taking Gage      5        Q. Did you see Gage Lorentz hit the sign post?
 6    Lorentz's human life, but was it kind of, like, highly       6        A. Yes.
 7    unlikely in your mind?                                       7        Q. After you saw Gage Lorentz hit the sign
 8            MS. LYMAN: Objection. Form.                          8   post, why didn't you call for backup?
 9         A. I had believed that I had acted                      9          MS. LYMAN: Objection. Form.
10    appropriately as an officer.                                10        A. I saw him continuing to speed down towards
11         Q. (BY MS. KENNEDY) So because it was your             11   where I knew the boys were at the -- at the reservoir
12    belief -- it was your belief that you had acted             12   there at Rattlesnake Springs.
13    appropriately as an officer based on your training by the   13        Q. (BY MS. KENNEDY) So rather than call for --
14    National Park Service?                                      14   you couldn't call for backup and follow him at the same
15        A. Yes.                                                 15   time?
16         Q. What other informed your belief that you had        16           MS. LYMAN: Objection. Form.
17    acted appropriately as an officer?                          17        A. I might have been able to, but I didn't -- I
18         A. I don't think there was anything else.              18   didn't have a good description of the vehicle.
19         Q. So it was solely based on your training with        19        Q. (BY MS. KENNEDY) Okay. So you might have
20    the National Park Service, training such as bring the       20   been able to call for backup and let them know that you
21    fight to them, that you thought you could acted             21   just saw someone in a white pickup truck hit a sign,
22    appropriately as an officer?                                22   though. Correct?
23           MS. LYMAN: Objection. Form and foundation.           23          MS. LYMAN: Objection. Form and foundation.
24         A. I'm not sure that I understand that                 24        A. I could have called, yes.
25    question.                                                   25        Q. (BY MS. KENNEDY) And after watching Gage



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 1    Lorentz drive where he was driving -- where this shows he      1   whether it's an assault, some other criminal act, a
 2    was driving -- and then hit a sign, why didn't you call        2   traffic accident -- often don't remember all the details
 3    for backup at that time?                                       3   of the incident. That would have been covered in my law
 4               MS. LYMAN: Objection. Form.                         4   enforcement academies.
 5         A. It just didn't occur to me.                            5        Q. (BY MS. KENNEDY) And do you recover
 6         Q. (BY MS. KENNEDY) Had you ever experienced              6   memories of the incident at a later date?
 7    anything like this where you had seen -- where you see a       7             MS. LYMAN: Objection. Foundation.
 8    driver driving down a dirt road and hitting a sign?            8        A. I think that it's possible that somebody
 9         A. Yes.                                                   9   will never remember, and it's possible that people will
10         Q. Pursuant to your training, had you been               10   have things come to their mind weeks or months or days
11    trained that it would have been objectively reasonable at     11   later.
12    that point to call for backup?                                12        Q. (BY MS. KENNEDY) When Jared -- when Jared
13               MS. LYMAN: Objection. Form and foundation.         13   Rostro told you that there were inconsistencies between
14         A. I could have called for backup.                       14   what you had said to him and the facts, did you think
15         Q. (BY MS. KENNEDY) And, in fact, it would               15   that, "Oh, yes. I now know that I gave incorrect
16    have been objectively reasonable for you to call -- call      16   information during the walkthrough of the shooting of
17    for backup after observing Gage Lorentz's driving.            17   Gage Lorentz"?
18               MS. LYMAN: Objection. Form and foundation.         18             MS. LYMAN: Objection. Form and foundation.
19         Q. (BY MS. KENNEDY) Don't you agree?                     19        A. No, I didn't think that.
20         A. Yeah, I could have.                                   20        Q. (BY MS. KENNEDY) Okay. Do you think that
21         Q. And it would have been objectively                    21   sitting here today?
22    reasonable to do so, don't you agree?                         22        A. No.
23               MS. LYMAN: Objection. Form and foundation.         23        Q. I'm going to continue with the playing of
24         A. Some officers might have called for backup,           24   Plaintiffs' Exhibit B.
25    which would make it objectively reasonable.                   25                (Video played.)


                                                         Page 199                                                         Page 201
 1         Q. (BY MS. KENNEDY) So after you viewed Gage              1            Q. (BY MS. KENNEDY) I'm going to stop you
 2    Lorentz hit the sign, it would have been objectively           2   there at Plaintiffs' Exhibit B, four minutes and
 3    reasonable to call for backup. You agree?                      3   four seconds. You say you didn't turn on your lights.
 4            MS. LYMAN: Objection. Form and foundation.             4   Is that true?
 5         A. I could have, yes.                                     5            MS. LYMAN: Objection. Foundation.
 6         Q. (BY MS. KENNEDY) I'm not asking whether you            6            Q. (BY MS. KENNEDY) What's that?
 7    could have. You've answered that question. I'm asking          7            A. I did turn on my lights.
 8    you whether, in your experience as a law enforcement           8        Q. Okay. So at what point did you turn on your
 9    officer, it would be objectively reasonable for an             9   lights?
10    officer to call for backup after seeing Gage Lorentz's        10        A. As I was turning around to go after the
11    driving.                                                      11   vehicle.
12         A. Yes.                                                  12        Q. Okay. So -- so what you did say to the
13         Q. When you were testifying earlier about Jared          13   officers during the walkthrough is that as you began to
14    Rostro -- Jared Rostro calling you, you said after the        14   turn around, you turned on your lights to -- is that
15    phone call you reviewed some -- some things in writing.       15   correct?
16    What did you review?                                          16       A. I think that's correct.
17         A. I didn't review anything. I don't recall              17            Q. Okay. I'm going to go back a little bit.
18    reviewing anything. I didn't have anything that I could       18                (Video played.)
19    look at. There was still an open investigation.               19            Q. (BY MS. KENNEDY) When you say, "I didn't
20         Q. So what -- what did you think when he said,           20   sound the siren, that I recall," what are you talking
21    "There's some inconsistencies between what you told me        21   about?
22    and the evidence"? What -- what came to mind?                 22        A. Okay. You can activate the lights without
23            MS. LYMAN: Objection. Form.                           23   activating the siren.
24         A. Consistent with my training, we know that             24            Q. Why didn't you activate the siren?
25    people who have been traumatized in any capacity --           25            A. He saw me, drove right around me. And I



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                                                       Page 206                                                          Page 208
 1    you have one?                                                1        Q. So did you know how to turn the camera off?
 2            MS. LYMAN: Objection. Form.                          2        A. Yes. You have to press the button and hold
 3         A. No. I think that it has the potential to be          3   it for -- I think it's 30 seconds.
 4    a useful tool.                                               4        Q. So, based on your training, you believe that
 5         Q. (BY MS. KENNEDY) Okay. So you would prefer           5   you can turn the camera off by holding down the button
 6    to have a dash camera rather than not have a dash camera.    6   for 30 seconds.
 7         A. Yes.                                                 7        A. It's not 30 seconds. I don't remember what
 8         Q. Did you ever ask for someone at the Carlsbad         8   the amount of time was on that particular model. Thirty
 9    National Cavern to fix your dash camera so that would        9   seconds is the buffering time when it comes on. You have
10    have an ability to document what you were doing while       10   to hold it down and it makes a beep.
11    working?                                                    11        Q. To turn it off?
12            MS. LYMAN: Objection. Form.                         12        A. Yes.
13         A. No.                                                 13        Q. And pursuant to your training that is how,
14         Q. (BY MS. KENNEDY) Did there come a time              14   on March 21st of 2020, you would have turned your camera
15    where you learned that your body-worn camera had not        15   off, by holding down the button that was near your chest?
16    functioned properly during your encounter with              16        A. Yes.
17    Mr. Lorentz?                                                17        Q. And you demonstrated how you would have done
18         A. The first time I became aware of that was in        18   that?
19    the interview with Detective Rostro.                        19        A. Yes.
20         Q. When did Detective Rostro tell you that the         20        Q. Could you demonstrate that again, please.
21    body-worn camera had malfunctioned during your contact      21        A. Okay. So the camera's worn right here over
22    with Gage?                                                  22   the sternum and there's a -- there's a circular button.
23         A. He asked me did I ever turn it off during           23   It's fairly big. You can use -- you know, you can turn
24    the contact. And I remember telling him no.                 24   it on and off using the gloves when you're wearing
25         Q. Did Detective Rostro ever have a                    25   gloves.


                                                       Page 207                                                          Page 209
 1    conversation with you that was not recorded, to your         1             And you have to hold it down. And by
 2    knowledge?                                                   2   pushing in on it, then it will shut itself off, and there
 3        A. Only that phone call after the district               3   will be an audio signal that it has shut off.
 4    attorney closed out the case.                                4         Q. And what is the aud- -- aud- -- aud- -- what
 5          Q. When did Detective Rostro tell you that he          5   is the signal it has shut off? What does it sound like?
 6    had watched the body-worn camera?                            6         A. I would describe it as a beep.
 7          MS. LYMAN: Objection. Foundation.                      7         Q. Like, a high pitched, like, "beep"?
 8          A. I don't know.                                       8         A. Yes.
 9          Q. (BY MS. KENNEDY) But he did tell you that           9         Q. Okay. Did you hear that sound while you
10    he watched the body-worn camera before you gave a           10   were wrestling with Gage Lorentz?
11    recorded statement.                                         11         A. No.
12        A. I believe it's someplace in the interview.           12         Q. Did you hear that sound at any time during
13          Q. Okay. So you believe that during your first        13   the time that you were present with Gage Lorentz?
14    interview, before the walkthrough, Detective Rostro told    14             MS. LYMAN: Objection. Form.
15    you that the body-worn camera had not functioned            15         A. It makes the same audio signal when you turn
16    properly.                                                   16   on. So when I turned on the camera, it would have made
17        A. He had asked me a question about whether or          17   the same sound.
18    not I had ever turned it off. I don't know if he            18         Q. (BY MS. KENNEDY) Okay. Other than -- when
19    specifically said that it didn't record or that it          19   did you turn on the camera?
20    malfunctioned. I don't -- I don't recall what he said.      20         A. After I exited the vehicle.
21          Q. So you recall that he asked you whether you        21         Q. After you'd exited your own vehicle, as you
22    had turned the camera off?                                  22   were exiting, you turned on the camera?
23        A. Yes.                                                 23         A. Yeah, I think so.
24          Q. And what was your answer to that question?         24         Q. Okay. I'm going to continue playing
25          A. No.                                                25   Plaintiffs' Exhibit B.



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                                                        Page 210                                                     Page 212
 1                 (Video played. )                                1    that he had hit the sign, did you call out your location
 2         Q. (BY MS. KENNEDY) Okay. At 4:45 somebody in           2    to anyone at that time?
 3    a yellow shirt is holding up something. Do you know what     3         A. No.
 4    that is?                                                     4         Q. When was the first time you called out your
 5         A. That's the cross-piece for the sign.                 5    location in relation to your incident with Gage Lorentz?
 6         Q. And do you have any -- had you deduced               6         A. After the shooting.
 7    any -- had you seen that before? Do you know how that        7         Q. I'm going to play for you now what has been
 8    got there? What did you think when you saw that held up?     8    marked as Plaintiffs' Exhibit D, which is the walkthrough
 9         A. That it had been thrown there from when the          9    of the scene of the shooting.
10    driver struck the sign.                                      10           Did you go to the walkthrough at the scene
11         Q. Did you see that happen?                             11   of the shooting immediately after the walkthrough of the
12         A. I did not notice it go through the air.              12   location where Gage Lorentz allegedly hit the sign?
13                 (Video played.)                                 13        A. I thought that we did --
14         Q. (BY MS. KENNEDY) Okay. That was the                  14           MS. LYMAN: Objection. Form.
15    complete response we got from the Eddy County Sheriff's      15           Go ahead.
16    Department of your first -- your walkthrough on that day.    16        A. I thought that we went to the shooting scene
17    On that day, how was your memory of the events on the day    17   and then went back to where the -- I had encountered him.
18    you did the walkthrough?                                     18   That's what it seems to me.
19               MS. LYMAN: Objection. Form and foundation.        19        Q. (BY MS. KENNEDY) Okay. That could be the
20         A. I remember that there was a little bit of            20   case. I have no idea. I was just given both videos. I
21    confusion on where the vehicles were parked.                 21   don't know which thing happened first.
22         Q. (BY MS. KENNEDY) So on the day of the                22        A. Okay.
23    walkthrough, during this walkthrough that you just saw,      23        Q. So it's your memory here today that you
24    do you stand by everything you said during this              24   first went to the scene of the shooting; and then, after
25    walkthrough?                                                 25   discussing the scene of the shooting, you then went back


                                                        Page 211                                                     Page 213
 1         A. From what I just saw, yes. That was the               1   to the scene where you had alleged that Gage had hit the
 2    best of my memory.                                            2   sign in the entrance to Rattlesnake Springs?
 3         Q. And just clear for the record, you stand by           3        A. I think that is correct.
 4    everything you said in Plaintiffs' Exhibit B during the       4       Q. Okay. When you saw Gage driving from where
 5    walkthrough of -- before you end up later on down the         5   he had hit the sign down towards the location of the
 6    road. Right? This was just at the entrance of the gate        6   shooting, how fast did you think he was going?
 7    of Rattlesnake Springs. Correct?                              7       A. I would have said 45 miles an hour.
 8         A. Right. Where I first encountered the                  8        Q. And what is the speed limit on that road?
 9    incoming vehicle.                                             9        A. Fifteen miles an hour.
10         Q. And so in Plaintiffs' Exhibit B, you stand           10       Q. And as you were driving towards him and he
11    by everything you described in the walkthrough?              11   was driving towards the sign, were you afraid he was
12               MS. LYMAN: Objection. Form.                       12   going to hit you with -- with his vehicle?
13         A. That's everything I could remember; so, yes.         13       A. Yes. I thought he could.
14         Q. (BY MS. KENNEDY) Okay. How would you                 14       Q. Okay. You thought he could or you thought
15    change anything that you felt you got wrong in               15   he would?
16    Plaintiffs' Exhibit B --                                     16       A. Yeah. I wasn't too sure.
17               MS. LYMAN: Objection.                             17        Q. I mean, often when I'm driving, I look at
18         Q. (BY MS. KENNEDY) -- during the walkthrough?          18   someone and I'm, like, "That person can hit me. They
19         A. I don't know that there's anything to                19   could hit me," but I don't think they're really going to,
20    change.                                                      20   but -- you know.
21         Q. Okay. So you wouldn't change anything in             21        A. The speed was what concerned me because, of
22    Plaintiffs' Exhibit B in terms of what you said or           22   course, it's gravel, which changes your -- your stopping
23    described.                                                   23   distance.
24         A. Nothing that I could think of, no.                   24      Q. So you were concerned that he was speeding
25         Q. When you first saw Gage Lorentz and deduced          25   down the gravel road?



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                                                     Page 214                                                             Page 216
 1            A. (Nods head.)                                      1   like he was going to hit you as he was driving around
 2            Q. And the posted speed limit there is, what?        2   you.
 3            A. Fifteen.                                          3             MS. LYMAN: Objection. Form and foundation.
 4            Q. Okay. So he was going three times the legal       4          A. No. I did think that the potential for him
 5    speed limit down a gravel road in a large truck.             5   hitting me was very real.
 6    Correct?                                                     6          Q. (BY MS. KENNEDY) Okay. So what you did you
 7        A. Yes.                                                  7   do? You just sat there and let him drive around you?
 8            Q. And based on your training and experience,        8          A. I -- I believe that what I did is I stopped,
 9    would you call this careless driving or reckless driving?    9   because then you have at least a vehicle that's become a
10           MS. LYMAN: Objection. Form and foundation.           10   stationary object rather than a moving object, and
11            A. I would say that -- that I would                 11   probably put my foot on the brake and let him go around
12    characterize it under the 36 CFR 4.22, unsafe operations.   12   me.
13    So...                                                       13          Q. Okay. And he was -- he easily drove around
14            Q. (BY MS. KENNEDY) Is that a petty                 14   you?
15    misdemeanor?                                                15             MS. LYMAN: Objection. Form and foundation.
16          MS. LYMAN: Objection. Form and foundation.            16          A. Well, he drove around me, yes.
17            A. That would be a misdemeanor.                     17          Q. (BY MS. KENNEDY) Did you see his face when
18            Q. (BY MS. KENNEDY) Okay. Is it a traffic           18   he was driving around you?
19    offense?                                                    19          A. I didn't get a good look at him. There were
20         A. Yes.                                                20   tinted windows.
21            Q. Can you write a ticket for that?                 21          Q. So you didn't know his expression as he was
22            A. Yes.                                             22   driving around you?
23            Q. Okay. So there's no need to arrest               23          A. No.
24    Mr. Lorentz and put him in handcuffs and take him           24          Q. He made no gestures towards you as he drove
25    anywhere in order to do justice.                            25   around you?


                                                     Page 215                                                             Page 217
 1               MS. LYMAN: Objection. Form and foundation.        1              MS. LYMAN: Objection. Form and foundation.
 2            A. I would have the authority to arrest him.         2          A. Not that I recall.
 3            Q. (BY MS. KENNEDY) That's not my question.          3          Q. (BY MS. KENNEDY) Did you have any
 4            A. Oh.                                               4   indication as he drove around you that he even saw you?
 5            Q. You had the authority and discretion to           5           MS. LYMAN: Objection. Form and foundation.
 6    write him a ticket and let him go on his way. Correct?       6          A. Yeah, I think he saw me.
 7         A. Yes. I could have done that.                         7          Q. (BY MS. KENNEDY) Why do you think he saw
 8            Q. Right. When you turn around and start             8   you?
 9    following him, at that point do you intend to charge him     9       A. Okay. It's the way he drove at me and then
10    with assault on an officer?                                 10   swerved away.
11            MS. LYMAN: Objection. Form and foundation.          11          Q. What about the way he drove at you and
12            A. No.                                              12   swerved away made you think that he saw you?
13            Q. (BY MS. KENNEDY) Okay. So when he was            13       A. I was just thinking about how close he got
14    driving towards you and you had to move over in the road    14   and then -- and then suddenly veered away.
15    to allow him to go by, you just moved your vehicle over     15          Q. So you thought he had good enough control of
16    and it was easy -- it was easy for you to get out of the    16   his vehicle that he decided to get close to you and
17    way. Correct?                                               17   swerve away in a way that was intentional?
18               MS. LYMAN: Objection. Form and foundation.       18              MS. LYMAN: Objection. Form and foundation.
19            A. Okay. I don't remember the specifics. But        19          A. I think so.
20    what I said there is I stopped the vehicle and let him go   20          Q. (BY MS. KENNEDY) When you turned your
21    around me.                                                  21   car -- and why do you think so?
22            Q. (BY MS. KENNEDY) Okay.                           22          A. Just the driving behavior; he came in, he
23            A. I don't think I even pulled over.                23   came in fast, came in a big cloud of dust. And he seemed
24            Q. Okay. So when you stopped the vehicle, Gage      24   to come at me and then veer away from me at the last
25    Lorentz went around you, and at no point did you feel       25   moment to avoid a collision as if he was just trying to



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                                                     Page 218                                                             Page 220
 1    do something to get my attention.                           1        Q. So the reason you failed to call for
 2          Q. So you thought that he intentionally swerved       2   assistance once Gage was stopped and you were stopped was
 3    away from you in a manner to get your attention.            3   because you wanted to talk to him?
 4       A. Perhaps.                                              4        A. Yes.
 5          Q. Okay. So at that point did you call for            5        Q. And at that point you didn't feel that you
 6    backup?                                                     6   had a need for backup.
 7        A. No.                                                  7        A. Correct.
 8          Q. Why not? You just alleged that a driver had        8        Q. At that point did you feel that his driving
 9    nearly -- had threatened you by driving into you at         9   was without due care?
10    45 miles an hour in a 15-mile-an-hour road and swerved     10            MS. LYMAN: Objection. Form and foundation.
11    away to avoid you at the last minute in a manner that      11        A. Yes.
12    made you think he did so intentionally, which would        12        Q. (BY MS. KENNEDY) At that point did you feel
13    perhaps be battery on an officer. Why didn't you call      13   like his driving indicated to you that he may be under
14    for backup at that time?                                   14   the influence of an intoxicant?
15           MS. LYMAN: Objection. Form and foundation.          15            MS. LYMAN: Objection. Form and foundation.
16          A. At that time all I wanted to do was catch up      16        A. No.
17    to the driver and talk to him. And I didn't see a reason   17        Q. (BY MS. KENNEDY) Have you had any training
18    to call for backup.                                        18   to investigate driving under the influence?
19          Q. (BY MS. KENNEDY) So pursuant to your              19        A. Yes.
20    training, nothing in your training told you: Huh, this     20        Q. And when were you last trained to
21    is very strange behavior. Maybe it would benefit to have   21   investigate driving under the influence?
22    someone else with me to help me talk to this person        22        A. I had the initial training at the Federal
23    that's engaging in this bizarre behavior.                  23   Law Enforcement Training Center and I'd had a refresher
24            MS. LYMAN: Objection. Form and foundation.         24   in 2019.
25          Q. (BY MS. KENNEDY) Didn't occur to you.             25        Q. Were you trained to ask someone whether


                                                     Page 219                                                             Page 221
 1         A. No.                                                 1   they've had anything to drink?
 2         Q. When you turned your car around after Gage          2            MS. LYMAN: Objection. Form and foundation.
 3    drove in such a threatening manner towards you, were you    3        A. That would be something that you could do
 4    angry at that point?                                        4   during the investigation phase of a traffic stop.
 5             MS. LYMAN: Objection. Form and foundation.         5        Q. (BY MS. KENNEDY) So you were trained that
 6         A. No.                                                 6   it would be common, if you were investigating someone
 7         Q. (BY MS. KENNEDY) You weren't -- you weren't         7   under the influence of an intoxicant, to ask them whether
 8    angry?                                                      8   they'd had any alcohol to drink?
 9         A. No.                                                 9            MS. LYMAN: Objection. Form and foundation.
10         Q. How did you feel?                                  10        A. That would be -- that would be something
11         A. My real -- my real sense of urgency was that       11   that you could ask after you've -- you've made contact
12    I wanted to get down to where he was headed before he      12   with the driver, yes.
13    could encounter the boys I had seen walking around the     13        Q. (BY MS. KENNEDY) And have you been trained
14    reservoir.                                                 14   to investigate whether someone is under the influence of
15         Q. Had you talked to the boys that had been           15   drugs?
16    walking around the reservoir prior to the shooting?        16        A. Yes.
17         A. No.                                                17        Q. And have you been trained to ask them, "Have
18         Q. Prior to the shooting, had you made a              18   you had any marijuana? Are you under the influence of
19    traffic stop earlier in that day?                          19   any drugs?"
20         A. Not -- no, not that I remember.                    20            MS. LYMAN: Objection. Form.
21         Q. When you stopped your vehicle and Gage had         21        A. That would be something that you could ask
22    stopped his vehicle, why did you fail to call for          22   in the investigation process, yes.
23    assistance at that point?                                  23        Q. (BY MS. KENNEDY) Did you ever smell any
24         A. All I wanted to do was talk to the driver.         24   marijuana on Gage Lorentz?
25    I didn't feel a need to call for backup.                   25        A. No.



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                                                       Page 230                                                        Page 232
  1    make you feel?                                               1          A. Okay. I could have walked away from him and
  2            A. I'm not sure that I understand the question.      2   gotten on the radio inside the vehicle. But I wasn't
  3    I'm not sure that I felt anything different than what        3   going to. I wasn't -- I wasn't about to take my
  4    I've been feeling all along.                                 4   attention off of him.
  5            Q. Okay. So watching the body-worn camera            5          Q. (BY MS. KENNEDY) Okay. So you think you
  6    footage of Gage Lorentz dying didn't change the way that     6   would have had to take your attention off of him in order
  7    you had felt all along?                                      7   to create distance between you and Gage Lorentz in order
  8               MS. LYMAN: Objection. Form.                       8   to call for backup.
  9            A. Yes.                                              9             MS. LYMAN: Objection. Form.
 10            Q. (BY MS. KENNEDY) I had stopped the video at      10          A. Yes.
 11    3 minutes and 34 seconds. I'm going to start it again.      11          Q. (BY MS. KENNEDY) Why?
 12                 (Video played.)                                12          A. Why -- I don't understand the "why."
 13            Q. (BY MS. KENNEDY) Okay. I'm going to stop         13          Q. I don't understand why you're saying you had
 14    you there.                                                  14   to break communication with Gage Lorentz in order to
 15               When you were testifying about deploying the     15   retreat to the inside of your vehicle to call for backup.
 16    Taser and then walking up to him to do the drive-stun,      16             MS. LYMAN: Objection. Form and foundation.
 17    prior to walking up to him to do the drive-stun, why        17          A. I was not -- I was not going to walk away
 18    didn't you call for backup?                                 18   from him. I was not going to take my attention off of
 19               MS. LYMAN: Objection. Form and foundation.       19   him.
 20            A. The only thing I would have had at my            20          Q. (BY MS. KENNEDY) And I know that. That's
 21    disposal was the handheld radio which does not work from    21   what you said.
 22    that location.                                              22          A. Yes.
 23            Q. (BY MS. KENNEDY) You couldn't walk back to       23          Q. Right. But I'm saying, well, couldn't you
 24    your vehicle?                                               24   keep your attention on him while retreating to call for
 25            A. I wasn't going to turn my back on him.           25   backup to your vehicle?


                                                       Page 231                                                        Page 233
  1        Q. Well, you could walk backwards, couldn't              1          A. I don't think that would be very effective.
  2    you?                                                         2          Q. So you decided not to.
  3              MS. LYMAN: Objection --                            3          A. Yes.
  4        Q. (BY MS. KENNEDY) Couldn't you say, "Stay              4          Q. But you could have.
  5    there. I'm going to go call for backup?"                     5          A. Yeah, I suppose I could have.
  6              MS. LYMAN: Objection. Foundation and form.         6          Q. And wouldn't you agree that it would have
  7        Q. (BY MS. KENNEDY) You weren't able to                  7   been objectively reasonable to create distance between
  8    communicate to Gage to stay put?                             8   you and Gage Lorentz after you shot the Taser at him and
  9        A. No. I wasn't going to disengage from him.             9   it failed to work?
 10        Q. Well, you're not disengaging if you're               10             MS. LYMAN: Objection. Form and foundation.
 11    talking to him while you're walking backwards to call for   11          A. No.
 12    backup.                                                     12          Q. (BY MS. KENNEDY) I'm going to start playing
 13              MS. LYMAN: Objection. Form and foundation.        13   plaintiffs' exhibit of the walkthrough of the scene at
 14        Q. (BY MS. KENNEDY) Are you? Pursuant to your           14   4:10.
 15    training, can you walk backwards while talking to someone   15               (Video played.)
 16    and then call backup --                                     16          Q. (BY MS. KENNEDY) So at the point where you
 17        A. I don't believe I've ever been trained to            17   knew Gage Lorentz was not reaching for your pistol, at
 18    walk backwards.                                             18   that point is when you decided to unholster your gun.
 19        Q. Okay. So you've never been trained to                19           MS. LYMAN: Objection. Form.
 20    continue to talk to someone while making distance between   20          A. Yes.
 21    you and the subject so that you can call for backup.        21          Q. (BY MS. KENNEDY) At that point had you
 22        A. I'm capable of doing that, yes.                      22   decided to kill Gage Lorentz?
 23        Q. Okay. How -- how are you capable of doing            23          MS. LYMAN: Objection. Form and foundation.
 24    that?                                                       24          A. No.
 25              MS. LYMAN: Objection. Form.                       25          Q. (BY MS. KENNEDY) So at the point that you



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                                                       Page 238                                                           Page 240
  1         A. The black thing sticking up.                         1   getting to your gun?
  2         Q. Right.                                               2        A. It's just a shield.
  3         A. The --                                               3        Q. It's just a shield, but it's a shield that's
  4         Q. It's within the holster and it comes back            4   used to prevent people from getting to your gun.
  5    and forth when you're using the holster.                     5   Correct?
  6         A. You're talking about the rotating strap.             6               MS. LYMAN: Objection. Form.
  7         Q. Not the rotating strap. I'm talking about            7        A. Yeah. It -- it works in tandem with the
  8    what's to the right of the rotating strap sticking           8   rest of the -- of the retaining devices.
  9    straight up. Do you recognize what that is?                  9        Q. (BY MS. KENNEDY) Okay. So then directly to
 10            MS. LYMAN: Objection. Foundation.                   10   the left of that back -- black piece within the holster,
 11         A. I don't recognize that.                             11   what is that?
 12         Q. (BY MS. KENNEDY) You don't recognize what           12               MS. LYMAN: Objection. Form.
 13    that is. What do you recognize, in terms of the photo in    13        Q. (BY MS. KENNEDY) If you know.
 14    Exhibit I, that would indicate it would prevent some        14        A. It looks to me like the strap that goes onto
 15    suspect from drawing your gun from this holster?            15   the belt.
 16         A. It would have the retaining strap and then          16        Q. Okay. So you think that that is a strap
 17    there's a -- there's a thumb release that's on the inside   17   that connects it to a belt?
 18    of the holster.                                             18        A. Yes.
 19         Q. So the thumb release on the inside of the           19        Q. Okay. And so what other function within the
 20    holster, is that the black piece that is sticking up from   20   holster itself presents -- prevents someone from drawing
 21    within the holster?                                         21   your Sig 220 out of this holster?
 22         A. I don't think we're seeing that from -- I           22        A. Okay. There are -- there's a release
 23    don't think we're seeing that. That's...                    23   mechanism that's on the inside of the holster.
 24         Q. You don't know what that is?                        24        Q. And what is --
 25         A. There's a piece of plastic there that --            25        A. And I don't think we see that in this photo.


                                                       Page 239                                                           Page 241
  1         Q. Okay. Why don't we hold up the exhibit so            1        Q. And -- right. And within the holster, you
  2    we are talking about the same thing. If you could hold       2   need to push that release mechanism in order to draw the
  3    up the exhibit the way I'm holding it up towards you.        3   gun. Correct?
  4         A. (Witness complies.)                                  4           MS. LYMAN: Objection. Form and foundation.
  5          Q. Okay. So when you hold the exhibit like             5        A. Correct.
  6    this and you talk about this strap that is pulled back,      6        Q. (BY MS. KENNEDY) So the holster locks the
  7    what is that?                                                7   gun in place within your holster. Correct?
  8          A. Okay. This strap is a strap that goes over          8        A. Yes.
  9    the firearm while it's in the holster.                       9        Q. And it locks the Sig 220 in place within
 10         Q. Okay. So that was over the firearm in your          10   this holster. Correct?
 11    holster when you were with Gage Lorentz.                    11        A. Yes.
 12         A. Yes.                                                12        Q. So you had a holster that matched your gun
 13          Q. Okay. What about the black piece that my           13   so that the gun could not be removed from your holster by
 14    thumb is on now? What is that?                              14   a suspect.
 15          A. Okay. That -- that's a piece of plastic            15           MS. LYMAN: Objection. Form and foundation.
 16    that's designed to help keep from reaching past.            16        Q. (BY MS. KENNEDY) Correct?
 17         Q. So what is that piece of plastic called that        17        A. All it does is it makes it harder for a
 18    prevents a suspect from reaching past your gun and          18   suspect to remove the gun from the holster.
 19    pulling it out of the holster?                              19        Q. Right. But how in the world can a suspect
 20            MS. LYMAN: Objection. Foundation.                   20   remove a gun from a holster if it's locked within the
 21         Q. (BY MS. KENNEDY) What --                            21   holster?
 22         A. I'm not familiar with the name for that             22           MS. LYMAN: Objection. Form and foundation.
 23    piece.                                                      23        A. Any of these pieces are breakable.
 24         Q. What does your training tell you about how          24        Q. (BY MS. KENNEDY) But in a hand-to-hand
 25    that piece prevents someone from pulling your -- from       25   match, how does a suspect break any of the pieces within



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                                                     Page 250                                                              Page 252
  1         Q. Was the second shot -- if you did not intend         1   did that?
  2    to shoot him the second time, when the firearm went off      2              MS. LYMAN: Objection. Form and foundation.
  3    the second time, did you intend to kill Gage Lorentz at      3           A. It was what I remembered at the time.
  4    that moment?                                                 4           Q. (BY MS. KENNEDY) Okay. So what you
  5           MS. LYMAN: Objection. Form and foundation.            5   remembered at the time and told the officers at the time
  6         A. No.                                                  6   was wholly inaccurate.
  7             MS. KENNEDY: I'm going to close this out.           7              MS. LYMAN: Objection. Form and foundation.
  8    It's 3:52. I would like to take a ten-minute break at        8           Q. (BY MS. KENNEDY) You would agree?
  9    this point. Wait. Wait. Before we take a break, is           9           A. I don't think it was completely inaccurate.
 10    there something I need to clarify before we go on break?    10   I was truthful about shooting him twice.
 11             (Discussion held off the record.)                  11           Q. Well, but you -- you weren't truthful about
 12         Q. (BY MS. KENNEDY) It was -- I understood             12   shooting him twice insofar as you said you shot him once
 13    your testimony to be -- but I just want to clarify it --    13   and didn't know if you'd hit him. Right?
 14    that you did not intend to shoot Gage Lorentz the second    14              MS. LYMAN: Objection. Form and foundation.
 15    time.                                                       15           A. Correct.
 16         A. When I shot him the first time, I had hoped         16           Q. (BY MS. KENNEDY) All right. So the first
 17    that would stop the altercation. And I thought that it      17   time you shot, you intended to shoot. And you say it's
 18    was possible that the first shot didn't hit him. And the    18   true that you shot a man in the leg and didn't know you'd
 19    second shot was deliberate.                                 19   hit him.
 20         Q. So you intended to shoot him the second             20              MS. LYMAN: Objection. Form.
 21    time?                                                       21           Q. (BY MS. KENNEDY) Is that your testimony
 22        A. Yes.                                                 22   under oath; that you shot a man in the leg while you were
 23         Q. Because you didn't know whether you had shot        23   both on the ground and you didn't know whether you'd hit
 24    him the first time.                                         24   him?
 25        A. He was continuing to resist.                         25           A. Yes. We know that to be true now.


                                                     Page 251                                                              Page 253
  1        Q. Okay. What I'm trying to understand is, you           1           Q. Okay. How do you know that to be true now?
  2    said you intended to shoot him the first time. Right?        2           A. Well, I've been -- I've been told that both
  3        A. Yes.                                                  3   shots were -- hit Mr. Lorentz.
  4        Q. But you don't know whether you hit him the            4           Q. Okay. So at the time that you were on the
  5    first time?                                                  5   ground with Mr. Lorentz, it's your testimony under oath
  6        A. Correct.                                              6   today that when you were both on the ground and you shot
  7        Q. And you were still on the ground with Gage            7   him in the leg, you didn't know that you'd hit him in the
  8    the first time you shot him?                                 8   leg?
  9        A. Yes.                                                  9           A. Correct.
 10        Q. And at that point did you get up and back            10           Q. All right. And then when you shot the gun a
 11    away and shoot him again?                                   11   second time, it's your testimony under oath today that
 12           MS. LYMAN: Objection. Form and foundation.           12   you intended to shoot him a second time.
 13        A. No.                                                  13           A. Yes.
 14        Q. (BY MS. KENNEDY) Okay. But that's what you           14           Q. But you don't know whether when you shot him
 15    told the officers during the walkthrough.                   15   the second time -- it's your testimony under oath that
 16        A. Yes.                                                 16   when you shot him the second time, you didn't know where
 17        Q. Okay. Why were you mistaken as to when --            17   you'd hit him?
 18    and you also told the officers that while you were          18              MS. LYMAN: Objection. Form and foundation.
 19    standing up and backing away is when Gage stood up and      19           A. I did not know.
 20    was coming for you. Do you remember saying that?            20           Q. (BY MS. KENNEDY) Okay. But your testimony
 21        A. I do remember saying that.                           21   is under oath here today that you intended to shoot him a
 22        Q. And that's also inaccurate. Right?                   22   second time.
 23        A. Yes.                                                 23           A. I delivered a second shot in an attempt to
 24        Q. Why did you tell the officers that Gage had          24   stop the fight when I found no reaction to the first
 25    stood up and was coming towards you when in fact he never   25   shot.



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  1         Q. Based on what? Based on your memory that we          1   had missed.
  2    now know is inaccurate of what happened?                     2        Q. (BY MS. KENNEDY) Right. So you didn't take
  3            MS. LYMAN: Objection. Form and foundation.           3   time after you shot the first time to see whether you had
  4         A. That's what I perceived in that moment.              4   even hit him?
  5         Q. (BY MS. KENNEDY) Sitting here today you're           5           MS. LYMAN: Objection. Form and foundation.
  6    now saying that what you perceived after watching the        6        A. There was nothing that indicated that I hit
  7    video is that after you had shot Gage in the leg that he     7   him; so I shot a second time.
  8    was still fighting you.                                      8        Q. (BY MS. KENNEDY) Well, you were just not
  9            MS. LYMAN: Objection. Form and foundation.           9   perceiving reality correctly. Because, in fact, when you
 10         A. Yes.                                                10   shot him the first time, you hit him in the leg. So if
 11         Q. (BY MS. KENNEDY) Are you saying he took a           11   you had assessed the situation, you would have been able
 12    swing at you? Are you saying that he tried to kick you?     12   to see that you had hit Gage Lorentz in the leg.
 13         A. I believe that we were in -- we were                13           MS. LYMAN: Objection. Form and foundation.
 14    fighting over the weapon itself.                            14        Q. (BY MS. KENNEDY) Wouldn't you agree based
 15         Q. Do you believe that Gage was afraid you             15   on your body-worn camera footage?
 16    would kill him?                                             16        A. No.
 17            MS. LYMAN: Objection. Form and foundation.          17        Q. Why not?
 18         A. I don't know. I don't know what he was              18        A. Okay. This is --
 19    thinking.                                                   19        Q. What facts do you have to support your
 20         Q. (BY MS. KENNEDY) Right. How was he a                20   assertion that after you shot Gage the first time it hit
 21    deadly threat when you had shot him a second time?          21   him in the leg?
 22            MS. LYMAN: Objection. Form and foundation.          22           MS. LYMAN: Objection. Form and foundation.
 23         A. He'd already fought with me over my weapon,         23        A. I didn't see anything and I didn't feel like
 24    and I wasn't going to give him an opportunity to take it.   24   he reacted.
 25         Q. (BY MS. KENNEDY) So the second time you             25        Q. (BY MS. KENNEDY) Right. Because what


                                                      Page 263                                                        Page 265
  1    shot him it was so he could never have an opportunity        1   you're -- you're saying your memory tells you that what
  2    ever again to take your weapon?                              2   you did was actually stand up, take steps back, and shoot
  3           MS. LYMAN: Objection. Form and foundation.            3   him because he stood up and was coming for you. That's
  4         A. It was to end the fight.                             4   what your mind remembers happened. Right?
  5         Q. (BY MS. KENNEDY) After you shot him the              5           MS. LYMAN: Objection. Form and foundation.
  6    first time in the leg and he was on the ground, did you      6        Q. (BY MS. KENNEDY) Right?
  7    take time to reassess to determine whether you needed to     7        A. Yes.
  8    take another shoot?                                          8        Q. Right. So even though your counsel showed
  9           MS. LYMAN: Objection. Form and foundation.            9   you what really happened, your mind still believes that
 10         A. I didn't have that luxury.                          10   Gage Lorentz stood up after the first shot and was coming
 11         Q. (BY MS. KENNEDY) Okay. So your answer is            11   for you?
 12    no; after you shot him and he was on the ground, you did    12           MS. LYMAN: Objection. Form and foundation.
 13    not take time to reassess to determine whether you needed   13        A. That is what I remember.
 14    to shoot him again.                                         14        Q. (BY MS. KENNEDY) And is that what happens
 15         A. I shot him until the threat ceased, which is        15   in your dreams?
 16    consistent with my training.                                16        A. Yes.
 17         Q. Okay. But that's not my -- that's not my            17           MS. KENNEDY: Take a break now.
 18    question. My question is: After you shot him the first      18           THE VIDEOGRAPHER: The time is 4:07 p.m.
 19    time, as you can see on the video -- now that you can       19   We're off the record.
 20    watch the video -- you shot him the first time and he's     20       (Break taken from 4:07 p.m. to 4:23 p.m.)
 21    on back and you shot him in the leg, after you shot him     21           THE VIDEOGRAPHER: The time is 4:23 p.m.
 22    the first time, did you take time to reassess to see        22   We're on the record.
 23    whether you needed to shoot him again?                      23        Q. (BY MS. KENNEDY) Do you agree with me that
 24            MS. LYMAN: Objection. Form and foundation.          24   when you shot Gage Lorentz the first time, he was
 25         A. No. The only thing I believed was that I            25   unarmed?



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  1            MS. LYMAN: Objection. Form and foundation.          1        A. Correct.
  2         A. I never knew if he was armed or not.                2        Q. (BY MS. KENNEDY) So when you say you didn't
  3         Q. (BY MS. KENNEDY) Okay. Do you agree with            3   know whether he was armed, it's because you never asked
  4    me that when you shot Gage Lorentz the first time, you      4   him, "Are you armed?"
  5    did not see anything that would indicate that he was        5            MS. LYMAN: Objection. Form and foundation.
  6    armed?                                                      6        A. I don't think I ever got that opportunity.
  7            MS. LYMAN: Objection. Form and foundation.          7        Q. (BY MS. KENNEDY) So when -- when you first
  8         A. No.                                                 8   were talking to Gage during the 30-second buffer, you
  9         Q. (BY MS. KENNEDY) You don't agree -- agree           9   didn't have an opportunity to say, "Sir, do you have any
 10    with me on that?                                           10   weapons on you?"
 11         A. No.                                                11        A. I never did ask him that.
 12         Q. Why not?                                           12        Q. But you had an opportunity to ask him that
 13         A. I remember that he was trying to put his           13   when you first talked to him. Right?
 14    hands in his pockets. And I had said something about not   14            MS. LYMAN: Objection. Form and foundation.
 15    putting your hands in your pockets.                        15        A. That's -- that wasn't the question that I
 16         Q. Okay. So because he didn't put his hands in        16   started with.
 17    his pockets, you think that perhaps Gage Lorentz was       17        Q. (BY MS. KENNEDY) But you had an opportunity
 18    armed before you shot him?                                 18   to ask him, "Sir, do you have any weapons on you?"
 19            MS. LYMAN: Objection. Form and foundation.         19        A. I could have started with that, yes.
 20         A. I thought that it was possible that he could       20        Q. Right. In fact, you could have asked him
 21    be armed.                                                  21   whether he was armed before you asked him to turn around.
 22         Q. (BY MS. KENNEDY) Okay. You didn't see              22   Right?
 23    anything in his pockets that would indicate to you that    23            MS. LYMAN: Objection. Form and foundation.
 24    he was armed.                                              24        Q. (BY MS. KENNEDY) I'm just trying to
 25            MS. LYMAN: Objection. Form and foundation.         25   understand when you testify under oath that you never had


                                                    Page 267                                                               Page 269
  1        A. No.                                                  1   an opportunity to ask him whether his -- he was armed,
  2        Q. (BY MS. KENNEDY) You didn't see anything in          2   what is the basis of that assertion?
  3    his hands that would indicate to you that he was armed.     3            MS. LYMAN: Objection. Form.
  4        A. Correct.                                             4        A. I just never asked him.
  5        Q. You didn't see anything on his body that             5        Q. (BY MS. KENNEDY) Right. But you could have
  6    would indicate to you that he was armed.                    6   asked him. Right?
  7           MS. LYMAN: Objection. Form.                          7        A. Sure, I could have.
  8        A. Well, I didn't have a complete look at his           8        Q. So in fact, you did have an opportunity to
  9    body to know whether or not he had something.               9   ask him whether he was armed.
 10        Q. (BY MS. KENNEDY) Okay. So you saw the               10        A. Yeah, I could have.
 11    front of his body. Right?                                  11        Q. Right. And it's on you that you don't know
 12        A. Yes.                                                12   whether he's armed. Right?
 13        Q. Nothing in the front of his body made you           13            MS. LYMAN: Objection. Form and foundation.
 14    think he was armed.                                        14        A. Right. But even if he said no, I'm not
 15            MS. LYMAN: Objection. Form.                        15   going to take that.
 16        A. Correct.                                            16        Q. (BY MS. KENNEDY) Do you have any reason not
 17        Q. (BY MS. KENNEDY) Okay. And you're saying            17   to believe him if you say, "Sir, Mr. Lorentz, you sure
 18    that you never saw the back side of his body?              18   were driving fast. What were you -- why were you" -- did
 19         A. Correct.                                           19   you ever ask him, "Sir, why were you driving so fast?"
 20        Q. So you never saw whether he was armed               20        A. No, I never asked him that.
 21    because you never saw the back side of his body?           21        Q. Did you ever ask him, "Sir, have you had
 22        A. Correct.                                            22   anything to drink?"
 23        Q. Nothing that you saw about his body would           23        A. I didn't ask him that.
 24    indicate to you that he was armed.                         24        Q. Right. Did you ever ask him, "Sir, are you
 25            MS. LYMAN: Objection. Form and foundation.         25   having a hard day?"



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  1          A. I asked him if there was an emergency.               1   walk up to him and you say, "Talk to me. What's going on
  2          Q. Okay. When you asked him, "Is there an               2   today," how close were you to him at that point?
  3    emergency," what did he say?                                  3        A. I was probably 7 to 10 feet.
  4          A. I didn't get a response from him.                    4        Q. And how did he respond to that question?
  5          Q. Okay. No response at all?                            5        A. He said, "Where is he?"
  6          A. No. I don't remember any response at all.            6        Q. Did you think it was an odd response to
  7          Q. Was -- when you asked him was there an               7   "Talk to me. Tell me what's going on today," to say,
  8    emergency, was that during the buffering period?              8   "Where is he"?
  9          A. Probably. I don't remember when it comes             9             MS. LYMAN: Objection. Form.
 10    on.                                                          10        A. Yes.
 11          Q. Okay. Okay. During the buffering period,            11        Q. (BY MS. KENNEDY) Were that -- were you
 12    other than asking him -- and so when you said, "Is there     12   trained to recognize that a response like that could
 13    an emergency," he just ignored you?                          13   indicate that someone was in the midst of a mental health
 14              MS. LYMAN: Objection. Form and foundation.         14   crisis?
 15          A. He had no response.                                 15             MS. LYMAN: Objection. Form and foundation.
 16          Q. (BY MS. KENNEDY) No response at all.                16        A. No.
 17          A. Correct.                                            17        Q. (BY MS. KENNEDY) Have you had any training
 18          Q. Okay. What else did you ask him where he            18   in crisis intervention training to recognize when someone
 19    had no response?                                             19   is in a mental health crisis?
 20          A. The very first thing that I asked him, I            20             MS. LYMAN: Objection. Foundation.
 21    believe what I said was, "Talk to me and tell me what's      21        A. I have not had anything specific.
 22    going on today." Those were my first words to him.           22        Q. (BY MS. KENNEDY) Ever?
 23          Q. So your first words to him were -- before           23        A. No. We talked about dealing with -- when I
 24    you said, "What is your name? How are you?" you said,        24   was at FLETC, we had a course on dealing with people with
 25    "Talk to me and tell me what's going on today"?              25   mental illness, but --


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  1          A. Yes.                                                 1        Q. Was that in 2005?
  2          Q. So you ordered him, "Talk to me"?                    2        A. Yes.
  3              MS. LYMAN: Objection. Form and foundation.          3        Q. Okay. And when someone responds, "Where is
  4          Q. (BY MS. KENNEDY) Is that how you talk to             4   he" and you don't know who he's talking about or where
  5    people? Do you walk up to people you don't know and say,      5   who might be, does it cause you to think that you might
  6    "Talk to me"?                                                 6   be engaging with someone with a mental health disability
  7              MS. LYMAN: Objection. Form.                         7   or someone who is in a mental health crisis?
  8          A. Not normally.                                        8             MS. LYMAN: Objection. Form and foundation.
  9          Q. (BY MS. KENNEDY) Okay. So why did you walk           9        A. What I actually wondered was whether or not
 10    up to him and say, "Talk to me"?                             10   he was using something.
 11          A. "Talk to me and tell me what's going on             11        Q. (BY MS. KENNEDY) So did you ask him, "Sir,
 12    today."                                                      12   have you imbibed anything that would cause you to think
 13          Q. Is that -- is that how you said it to him?          13   that someone's there that's not there?" Or why did you
 14          A. That's an open-ended question and he could          14   think -- why did you think that because he said, "Where
 15    have said anything.                                          15   is he," he had used drugs?
 16          Q. Okay. So is -- but does that -- do you go,          16             MS. LYMAN: Objection. Form and foundation.
 17    "Talk to me. Tell me what's going on today." Is that         17        A. I didn't think that he had used drugs. I
 18    the inflection you used when you talked to Gage Lorentz?     18   thought it was a possibility that he had used some drugs.
 19          A. Yeah, probably.                                     19             But that was my starting point. "Where is
 20          Q. You don't remember specifically?                    20   he?" Well, where is who? Then I got no response. Maybe
 21          A. I wasn't angry. I wasn't accusatory --              21   he realized that that response made no sense. I don't
 22    accusing him of anything, and I just wanted him to have      22   know.
 23    an opportunity to talk.                                      23        Q. (BY MS. KENNEDY) Okay. So did you say:
 24          Q. So when you walked up to him after you'd            24   Sir, I don't know who you're talking about. What are you
 25    seen him run into the -- you know, destroy the sign, you     25   talking about? How did that happen?



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  1         A. I just asked, "Where's who?" Then I got no           1       A. Yes.
  2    response. And I asked, "Is there some kind of an             2       Q. (BY MS. KENNEDY) Okay. So you knew as soon
  3    emergency?"                                                  3   as you left your vehicle and closed the distance between
  4            And I thought that that was an important             4   you and Gage that you would have no ability, once you did
  5    question. Well, maybe, you know, if there -- if there        5   that, to call for backup without retreating to your
  6    was an emergency, that would certainly explain the           6   vehicle.
  7    speeding and the lack of paying attention.                   7              MS. LYMAN: Objection. Form and foundation.
  8            Maybe there -- maybe there really was                8       A. Yes.
  9    something wrong, and that's where I wanted him to talk to    9       Q. (BY MS. KENNEDY) Do you agree with me that
 10    me.                                                         10   when you shot Gage the first time, he did not have his
 11        Q. So did you ask him, "Sir, is there something         11   hands around or on your head?
 12    wrong?"                                                     12              MS. LYMAN: Objection. Form and foundation.
 13        A. "Is there some kind of emergency?" I                 13       A. No. I think he did have them around my
 14    remember asking him that.                                   14   head.
 15         Q. And he ignored you. And then what did you           15       Q. (BY MS. KENNEDY) All right. So is that --
 16    ask next?                                                   16       A. He had taken his hands off the weapon after
 17         A. "Could you tell me your name?"                      17   trying to disarm me.
 18          Q. And did he tell you his name?                      18       Q. Okay. So when he -- when you -- okay. So
 19          A. He did not.                                        19   why do you think he was trying to disarm you?
 20         Q. And then what did you ask him next?                 20       A. To take my weapon?
 21         A. I -- I said something to the effect of, "If         21       Q. Yeah. Why do you -- why -- you keep saying
 22    you can't tell me your name, can you -- do you have any     22   that you thought he was trying to take your weapon. But
 23    identification with you?"                                   23   he never took your weapon out of the holster, did he?
 24          Q. What did he say to that?                           24              MS. LYMAN: Objection. Form.
 25          A. He said, "Sure. It's in the truck. Why             25       A. No. He was trying to disarm me. He never


                                                    Page 275                                                           Page 277
  1    don't you go get it."                                        1   successfully removed the weapon.
  2         Q. Okay. And so, at that point, why didn't you          2           Q. (BY MS. KENNEDY) Right. He never -- he
  3    call for backup?                                             3   never even -- he never even got his hands on the holster.
  4         A. Okay. Again, I didn't really feel that               4   Right?
  5    there was a need for backup. And even if I wanted            5              MS. LYMAN: Objection. Form and foundation.
  6    backup, my portable radio was unreliable for getting         6           A. Oh, but he did.
  7    backup.                                                      7           Q. (BY MS. KENNEDY) Oh, he did. He touched --
  8         Q. Why was your portable radio unreliable for           8   he touched your holster.
  9    getting backup?                                              9        A. I felt his hands on my hand, and then I felt
 10              MS. LYMAN: Objection. Form and foundation.        10   him reach around on either side of my hands to attempt to
 11         A. It does not work appropriately in that              11   remove the weapon from the holster.
 12    location.                                                   12           Q. Okay. How could he -- because I'm trying to
 13         Q. (BY MS. KENNEDY) How do you know your               13   visualize here. If you have a holster and you have your
 14    portable radio doesn't work appropriately in that           14   hand on top of the holster, how can someone get the
 15    location?                                                   15   weapon out of the holster?
 16         A. I've used it before.                                16              MS. LYMAN: Objection. Form and foundation.
 17         Q. You've used the portable radio in that              17           Q. (BY MS. KENNEDY) It's locked inside.
 18    location and it has failed to work. When you say it         18           A. Okay. The weapon itself is -- is larger
 19    doesn't work, how does it not work, to your knowledge?      19   than my hand. And so I am -- I could feel him. He tried
 20         A. It does not produce a strong enough signal          20   to pull my hand away.
 21    to reach out to the repeater.                               21              And then I felt him. He was trying to grab
 22         Q. So you knew when you closed distance on Gage        22   the -- where the magazine bottom is and use that. And
 23    and started this conversation, that you would have no way   23   then I could feel him coming in from the other side using
 24    to call for backup.                                         24   the second hand to try and get control of the holster.
 25             MS. LYMAN: Objection. Form and foundation.         25           Q. Okay. And you didn't tell anyone that



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  1    during your previous statements to law enforcement.      1    face and head after I was --
  2    Right?                                                   2            Q. How many times did you punch you in the face
  3              MS. LYMAN: Objection. Form and foundation.     3    and head?
  4         A. I don't know that we went into a lot of          4        A. I don't know.
  5    detail on the attempt to disarm me.                      5            Q. More than twice?
  6         Q. (BY MS. KENNEDY) Okay. So your testimony         6            A. Yes.
  7    here under that oath is that Gage Lorentz attempted to   7            Q. Where did the punches land on your face?
  8    disarm you by getting the gun out of your holster.       8            A. Sort of on the cheek and around the temple
  9    Right?                                                   9    here.
 10         A. Yes.                                             10           Q. Is that the only side of the face that he
 11         Q. Okay. And you said under oath earlier that       11   hit is what you indicated there?
 12    Gage Lorentz stopped trying to get the gun out of your   12         A. Mostly what I remember him is him hitting me
 13    holster and put his hands behind your head. Correct?     13   in the head.
 14              MS. LYMAN: Objection. Form and foundation.     14           Q. Where in the head did he hit you?
 15         A. I think he was just punching me in the head.     15           A. Right up here.
 16         Q. (BY MS. KENNEDY) Okay. So he never put his       16           Q. With his closed fist?
 17    hands on top of your head?                               17             MS. LYMAN: Objection. Form and foundation.
 18              MS. LYMAN: Objection. Form and foundation.     18           A. I'm not sure I could see whether or not his
 19         A. I think that was earlier.                        19   fist was closed or not.
 20         Q. (BY MS. KENNEDY) Okay. So when Gage              20           Q. (BY MS. KENNEDY) Well, did you feel like
 21    Lorentz stopped going for your weapon, where was his     21   you were being slapped or punched?
 22    hands?                                                   22       A. I felt like I was being punched.
 23         A. He was punching me in the head.                  23           Q. Okay. And how many times did you feel Gage
 24         Q. Okay. So he was -- were you laying on the        24   Lorentz punch you before you drew your weapon?
 25    ground at that time?                                     25       A. Well, he punched me several times and I


                                                    Page 279                                                        Page 281
  1            A. Yeah. I was on my knees trying to get up.     1    don't know how many times. Then he attempted to take the
  2        Q. Okay. So you're on your knees. You guys           2    weapon, and he leaned across me and used both hands to
  3    had both fallen to the ground.                           3    try and take it. I was holding it into the holster. He
  4           MS. LYMAN: Objection. Form and foundation.        4    couldn't get it. He went back to hitting me. I drew the
  5        A. No. He was on his feet. I was on the              5    weapon and delivered that first shot.
  6    ground trying to get up.                                 6        Q. Okay. So it's your testimony now here under
  7            Q. (BY MS. KENNEDY) Why did you fall to the      7    oath that you delivered the first shot into Gage Lorentz
  8    ground?                                                  8    when you were still on the ground?
  9        A. He pushed me backwards after I attempted the      9       A. Yes.
 10    drive-stun.                                              10       Q. Okay. And that at the time that you drew
 11            Q. Okay. So after you attempted to drive stun    11   your weapon when you were still on the ground, Gage
 12    him, he pushed you and you fell on the ground?           12   Lorentz was hitting you in the head?
 13        A. Yes.                                              13       A. Correct.
 14        Q. Okay. And at that point you got up on your        14        Q. Okay. At the time that Gage Lorentz was
 15    knees?                                                   15   hitting you in the head was he using deadly force?
 16        A. Yes.                                              16           MS. LYMAN: Objection. Form and foundation.
 17            Q. Okay. And Gage is still standing over you     17        A. Hitting me in the head, yeah. Possibly.
 18    at that point?                                           18           Q. (BY MS. KENNEDY) Have you ever been --
 19         A. Yes.                                             19           A. Any -- any one of those could have knocked
 20            Q. At that point you do not draw the gun?        20   me out.
 21            A. Correct.                                      21           Q. Okay. So you were afraid when you were on
 22            Q. Okay. At that point he hits you in the        22   the ground that Gage Lorentz could hit you in the head
 23    face.                                                    23   and knock you out?
 24         A. He hit me in the face before he knocked me       24        A. No.
 25    on the ground, and then he started punching me in the    25           Q. No?



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  1          A. No. It was -- it was after he attempted to          1       Q. Okay. So you know that you weren't hit hard
  2    take the weapon.                                             2   enough to suffer a concussion. Right?
  3         Q. That he hit you in the head. So hard that            3       A. Right.
  4    you thought he might be able to knock you out?               4       Q. So you certainly weren't hit hard enough to
  5         A. No.                                                  5   be knocked unconscious. Right?
  6           MS. LYMAN: Objection. Form and foundation.            6             MS. LYMAN: Objection. Form and foundation.
  7          Q. (BY MS. KENNEDY) Okay. I'm trying to                7       Q. (BY MS. KENNEDY) I'm just asking you if you
  8    understand where he hit you --                               8   know the facts.
  9          A. I think you're trying to make assertions            9       A. Okay. What would it take for him to knock
 10    that aren't correct.                                        10   me unconscious? He's already hitting me in the head.
 11         Q. No, I'm not. That's not true at all. I'm            11       Q. (BY MS. KENNEDY) I'm asking you whether you
 12    trying to understand what actually happened here.           12   ever told any medical personnel, "He hit me so hard that
 13    You're -- I think you're projecting. I think you're         13   I thought I could be knocked unconscious." You never
 14    accusing me of doing what you're doing, actually.           14   told anyone that, did you?
 15            MS. LYMAN: Objection.                               15             MS. LYMAN: Objection. Form.
 16         Q. (BY MS. KENNEDY) What I'm trying to                 16       A. I don't know what I discussed with the
 17    understand from you -- and trying to get an answer          17   doctor.
 18    from -- is when you shot Gage Lorentz, where were his       18       Q. (BY MS. KENNEDY) Okay. You know now that
 19    hands?                                                      19   you never told anyone, "Oh, he was hitting me in the head
 20         A. I think he was hitting me in the head with          20   so hard that he could have knocked me unconscious."
 21    his hands.                                                  21             MS. LYMAN: Objection. Form and foundation.
 22         Q. Okay. And you say that he's punching you in         22       Q. (BY MS. KENNEDY) In fact, during your
 23    your head -- in -- on your head with his hands with his     23   interview with Detective Rostro, on page 31 of
 24    right fist and it's hitting you on top of your head?        24   Plaintiffs' Exhibit A, you stated that Mr. Lorentz was
 25             MS. LYMAN: Objection. Form and foundation.         25   hitting you but that it didn't hurt like you expected it


                                                      Page 283                                                         Page 285
  1         A. Yeah, I think so.                                    1   to hurt. Is that accurate?
  2         Q. (BY MS. KENNEDY) But at no point when he             2        A. I do remember saying that.
  3    was hitting you on top of your head did you think that       3        Q. Right. If Mr. Lorentz was striking you and
  4    you were going to knocked unconscious.                       4   it didn't hurt like you expected, why did you feel you
  5        A. I believe that it was possible I could be             5   had to shoot him twice and kill him?
  6    knocked unconscious.                                         6             MS. LYMAN: Objection. Form and foundation.
  7         Q. Okay. So you thought maybe -- just like you          7        A. The shooting only took place after he
  8    thought it was possible he could be armed, you thought       8   attempted to take my weapon.
  9    possibly he could knock you conscious, but you didn't        9        Q. (BY MS. KENNEDY) Okay. So since he had
 10    really have any evidence that he was knocking you           10   attempted to take your weapon is why you shot him.
 11    unconscious.                                                11       A. Yes.
 12            MS. LYMAN: Objection. Form and foundation.          12             MS. LYMAN: Objection. Form and foundation.
 13         A. I have a suspect who's resisting and                13        Q. (BY MS. KENNEDY) And that's the only reason
 14    fighting. Once he'd knocked me on the ground, he had the    14   you shot him was because he had attempt -- you allege he
 15    opportunity to run away.                                    15   had attempted to take your weapon and that is why you
 16         Q. (BY MS. KENNEDY) Right. He could have run           16   shot him?
 17    away at any time. Right?                                    17        A. If he had never attempted to take the
 18         A. Right.                                              18   weapon, I believe there would have been no shooting.
 19         Q. And running away is not using deadly force,         19        Q. Okay. So the only reason you shot Gage
 20    you'd agree. Right?                                         20   Lorentz is because you allege he attempted to take your
 21        A. Right.                                               21   weapon.
 22         Q. Right. Okay. But what I'm trying to get to          22             MS. LYMAN: Objection. Form and foundation.
 23    is you were never -- did anyone ever tell you as a result   23        A. Yes.
 24    of Gage hitting you that you suffered a concussion?         24        Q. (BY MS. KENNEDY) All right. And what you
 25        A. No.                                                  25   said -- what you said earlier was when you decided to



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  1    fuck, and you said it was unrehearsed? I'm really            1   from him.
  2    wondering why you're using profanity at this point.          2         Q. Okay. I'm going to play that for you again.
  3              MS. LYMAN: Objection. Form.                        3   Each time that you pull the trigger, do you say the word
  4         A. I don't know why I said that either of those         4   fuck?
  5    times.                                                       5             MS. LYMAN: Objection. Form and foundation.
  6         Q. (BY MS. KENNEDY) Okay. Prior to the                  6         A. I don't know.
  7    audible saying fuck, fuck at 03 and 05 on this, had you      7         Q. (BY MS. KENNEDY) Let's watch it again. So
  8    used profanity prior to this in your interaction with        8   this is the first.
  9    Gage Lorentz?                                                9                (Video played.)
 10         A. Not at all that I remember.                         10         Q. (BY MS. KENNEDY) At this point when you're
 11         Q. Okay. So to the best of your recollection,          11   telling him he's under arrest, do you perceive him still
 12    you said fuck while you were both on the ground with the    12   to be a threat of great bodily harm or death?
 13    gun?                                                        13             MS. LYMAN: Objection. Form.
 14         A. Yes.                                                14         A. No.
 15         Q. Okay.                                               15         Q. (BY MS. KENNEDY) Okay. So at this point
 16         A. I remember that he used it with me when he          16   you can see that he's on the ground and he's unable to
 17    said, "I didn't know who those people are."                 17   take your weapon from you. Correct?
 18         Q. Okay. So it was because he said, "I don't           18         A. Yes.
 19    know who the fuck those people are," you decided you        19         Q. And he's still unarmed. Right?
 20    could use profanity too? Or was that the only time Gage     20             MS. LYMAN: Objection. Form and foundation.
 21    used the F word?                                            21         A. Unknown to me.
 22              MS. LYMAN: Objection. Form and foundation.        22         Q. (BY MS. KENNEDY) Right. But there's
 23         Q. (BY MS. KENNEDY) Why did you bring up that          23   nothing that indicates here so far that he has a weapon.
 24    Gage used the F word?                                       24   Like during the fight, he never pulled out a weapon.
 25         A. I don't know.                                       25   Right?


                                                     Page 295                                                        Page 297
  1         Q. Certainly when he said, "I don't know who            1        A. Right.
  2    the fuck those boys are," that wasn't any cause to use       2        Q. And during the fight, he didn't say, "I've
  3    deadly force, was it?                                        3   got a knife my back pocket," right, pull it on you?
  4              MS. LYMAN: Objection. Form and foundation.         4        A. He say anything like that.
  5         A. I don't think there was any thought in my            5        Q. Right. He didn't pull out a firearm during
  6    mind that I was using deadly force.                          6   the fight. Right?
  7         Q. (BY MS. KENNEDY) At that point you hadn't            7        A. No.
  8    decided to use deadly force. Right?                          8        Q. So during the entire time that you're
  9         A. Correct.                                             9   fighting him he doesn't in any way -- he never introduces
 10         Q. And at that point when he says, "I don't            10   a deadly weapon into the fight. Right?
 11    know who those boys are," that wasn't threatening to you,   11            MS. LYMAN: Objection. Form and foundation.
 12    was it?                                                     12        A. I disagree. He attempted to take mine.
 13         A. No.                                                 13        Q. (BY MS. KENNEDY) Okay. But he didn't take
 14                (Video played.)                                 14   your weapon. Correct?
 15         Q. (BY MS. KENNEDY) Okay. At this point                15        A. Correct.
 16    you're telling Gage Lorentz that he's under arrest.         16        Q. And he never introduced a deadly weapon into
 17    Correct?                                                    17   the fight, did he?
 18         A. Yes.                                                18            MS. LYMAN: Objection. Form.
 19         Q. At this point are you aware that you have           19        A. I would disagree.
 20    shot him twice?                                             20        Q. (BY MS. KENNEDY) Okay. What deadly weapon
 21              MS. LYMAN: Objection. Form and foundation.        21   did he introduce into the fight?
 22         A. I'm aware that I've shot him once.                  22        A. He attempted to take my weapon to introduce
 23         Q. (BY MS. KENNEDY) Okay. How are you aware            23   it into the fight.
 24    that you have shot him once?                                24        Q. Right. But he did not take your weapon.
 25         A. I saw his reaction as I was breaking away           25   Correct?



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  1         A. I -- I don't think I've seen those photos.           1        Q. (BY MS. KENNEDY) Okay. He never threatened
  2              (Exhibit H marked.)                                2   you verbally. Well, what? What did he say that you
  3              (Exhibit G marked.)                                3   perceived to be a threat?
  4         Q. (BY MS. KENNEDY) Okay. Those photos are              4        A. That whole comment about, "No, the other
  5    marked as Plaintiffs' Exhibits H and G. Is that your gun     5   one."
  6    depicted on Plaintiffs' Exhibit H and G. Yes?                6        Q. Okay. So when Gage said, when you -- you're
  7         A. G and H, yes. That looks like the weapon I           7   the one who pulled the Taser on Gage while he was
  8    was carrying that day.                                       8   standing in the street. Correct?
  9         Q. Okay. And do you see the scuff marks on --           9             MS. LYMAN: Objection. Form.
 10    depicted in the photos on each side of your gun?            10        Q. (BY MS. KENNEDY) Right? You pulled the
 11              MS. LYMAN: Objection. Form and foundation.        11   Taser on Gage when he was standing there in the street.
 12         Q. (BY MS. KENNEDY) Do you agree that that is          12        A. I -- I removed it from its holster.
 13    dirt or scuff marks, or do you think that that was          13        Q. And you kept it in low-ready position or had
 14    preexisting prior to your encounter with Gage Lorentz?      14   you started to bring it up?
 15         A. I don't know. I don't know if that's dirt           15             MS. LYMAN: Objection. Form and foundation.
 16    or not.                                                     16        A. At that point it's what's call the display.
 17         Q. Right. So sitting here today looking at the         17   It's been removed from the holster but it's not been
 18    slide that -- that Erik Westpfahl suggested to you shows    18   pointed at the suspect.
 19    that Gage Lorentz almost got your gun, can you tell from    19        Q. (BY MS. KENNEDY) Right. Did you -- when
 20    the slide whether your gun at this point is on the          20   you removed your Taser from the holster, is that when
 21    ground?                                                     21   Gage said, "You're going to have to use the other one"?
 22              MS. LYMAN: Objection. Form and foundation.        22        A. Yes.
 23         A. To me it doesn't look like it's on the              23        Q. Okay. And you perceived that to be a
 24    ground.                                                     24   threat?
 25         Q. (BY MS. KENNEDY) So at this point Gage              25        A. It is a threat. Yes.


                                                        Page 307                                                         Page 309
  1    doesn't have -- isn't pressing your gun into the ground?     1        Q. Why is it a threat?
  2         A. I don't think so.                                    2        A. Okay. He's already trying to escalate that
  3         Q. But you can't tell, can you?                         3   to deadly force.
  4         A. I can't.                                             4        Q. Oh, really? Why? Just -- why did you say
  5         Q. And you don't know whether Gage was trying           5   -- how do you know he was just joking, like, "Hey.
  6    to disarm you to prevent you from killing him?               6   You're going to have to use the other one."
  7            MS. LYMAN: Objection. Form and foundation.           7             MS. LYMAN: Objection. Form and foundation.
  8         A. I wouldn't know.                                     8        Q. (BY MS. KENNEDY) Like, "Come on, big man.
  9         Q. (BY MS. KENNEDY) And you don't know what             9   You're threatening me. You're going to have to use the
 10    Gage -- Gage's intent was when he was trying to, as you     10   other one."
 11    say, get the gun from you?                                  11             MS. LYMAN: Objection. Form and foundation.
 12              MS. LYMAN: Objection. Form and foundation.        12        Q. (BY MS. KENNEDY) I mean, how do you know
 13         A. I think a reasonable officer would believe          13   he's not just flicking you some shit?
 14    that the weapon is going to be taken from them and used     14             MS. LYMAN: Objection. Form and foundation.
 15    against them.                                               15        A. Okay. Didn't -- didn't sound like anything
 16         Q. (BY MS. KENNEDY) Okay. But Gage never               16   other than a threat to me.
 17    said, "I'm going to take your gun and use it against        17        Q. (BY MS. KENNEDY) Okay. Has anyone ever
 18    you."                                                       18   flicked you shit before when you've been a cop?
 19        A. No.                                                  19             MS. LYMAN: Objection. Form and foundation.
 20         Q. Right. He never said, "I'm going to kill            20        A. Yes.
 21    you."                                                       21        Q. (BY MS. KENNEDY) Right. Say things like,
 22         A. No.                                                 22   "Come on, big man. Why don't you take me." Has anyone
 23         Q. He never threatened you verbally in any way?        23   said anything like that to you?
 24              MS. LYMAN: Objection. Form and foundation.        24             MS. LYMAN: Objection. Form and foundation.
 25         A. I disagree.                                         25        A. That's pretty rare.



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  1         Q. (BY MS. KENNEDY) So after he spoke those            1   that that's a completely false memory. Right?
  2    words, you were ready to use deadly force against Gage      2           MS. LYMAN: Objection. Form and foundation.
  3    Lorentz.                                                    3        A. Okay. I think -- I think you're trying to
  4         A. No.                                                 4   confuse me here. So I know that I delivered a first shot
  5                MS. LYMAN: Objection. Form and foundation.      5   that I thought was unsuccessful. And then I shot him a
  6         Q. (BY MS. KENNEDY) You were ready to close            6   second time.
  7    distance on him and incapacitate him after he said those    7        Q. (BY MS. KENNEDY) Well, you know what you
  8    words.                                                      8   said because we have a video of the walkthrough of what
  9                MS. LYMAN: Objection. Form and foundation.      9   you said. Right?
 10         A. I gave him an opportunity. I said to him,          10           What did you say? What did you tell the
 11    "I've told you to turn around and put your hands behind    11   officers? What did you believe happened before you were
 12    your back. Are you going to do it or not?"                 12   presented with your own body-worn camera footage?
 13         Q. (BY MS. KENNEDY) Oh. Oh, that's what --            13           MS. LYMAN: Objection. Form and foundation.
 14    that's what the video shows you said?                      14        A. Okay. I believed that I had delivered one
 15                MS. LYMAN: Objection. Form and foundation.     15   shot that was unsuccessful in subduing him and I
 16         A. That's what I remember saying.                     16   delivered a second shot that incapacitated him.
 17         Q. (BY MS. KENNEDY) Right. But we know that           17        Q. (BY MS. KENNEDY) And you believed that you
 18    your memory is not accurate, right, from watching the      18   had stood up, walked backwards, and shot him a second
 19    other video?                                               19   time; and you believed that Gage Lorentz was coming for
 20                MS. LYMAN: Objection. Form and foundation.     20   you when you delivered a second shot, that he was
 21         A. Well, I don't get everything wrong all the         21   standing up. That's what you told the officers during
 22    time.                                                      22   the walkthrough. Correct?
 23         Q. (BY MS. KENNEDY) Right. And it's important         23        A. I don't remember --
 24    when you take a human life not to get everything wrong,    24           MS. LYMAN: Objection. Form and foundation.
 25    isn't it?                                                  25        A. I don't remember him ever saying -- me ever


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  1              MS. LYMAN: Objection. Form and foundation.        1   saying that he was coming back at me.
  2         Q. (BY MS. KENNEDY) How can you trust your             2        Q. (BY MS. KENNEDY) Okay. Sitting here today
  3    memory when you didn't accurately inform the officers as    3   you don't remember that that's what you told --
  4    to how you shot and killed Gage Lorentz?                    4        A. Correct.
  5              MS. LYMAN: Objection. Form and foundation.        5        Q. Okay.
  6         Q. (BY MS. KENNEDY) If you don't know how you          6              (Video played.)
  7    took a human life, how can you trust your memory on         7        Q. (BY MS. KENNEDY) Why did you say fuck,
  8    anything?                                                   8   then? Why did you scream fuck at that point? Do you
  9              MS. LYMAN: Objection. Form and foundation.        9   know?
 10         Q. (BY MS. KENNEDY) You can answer the                10        A. No, I don't.
 11    question.                                                  11        Q. Okay. And that was --
 12         A. Okay. Which question did you want me to            12           MS. KENNEDY: I'm going to go off the
 13    answer?                                                    13   record. It's 5:15. And I'm going to consult with my
 14         Q. The last question.                                 14   co-counsel and find out how much more time I have in this
 15         A. Okay.                                              15   deposition.
 16              THE WITNESS: Can you read that back to me,       16           THE VIDEOGRAPHER: The time is 5:14 p.m. We
 17    please.                                                    17   are off the record.
 18              (Requested portion was read.)                    18       (Break taken from 5:14 p.m. to 5:26 p.m.)
 19         A. No. I do know that I took his life by              19           THE VIDEOGRAPHER: The time is 5:26 p.m. We
 20    shooting him.                                              20   are on the record.
 21         Q. (BY MS. KENNEDY) But you don't know -- I           21        Q. (BY MS. KENNEDY) Did you ever search Gage
 22    mean, when you walked around, you said you didn't know.    22   Lorentz for weapons?
 23    You thought you had shot him. You didn't know whether      23       A. I patted him down when I handcuffed him.
 24    you'd hit him, and that you stood up, took three steps     24        Q. Where did you pat him down when you
 25    back, and shot him again. And you know sitting here now    25   handcuffed him?



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  1         A. Just the area accessible to his hands.               1   assaultive?
  2         Q. So did you consider a pat-down of the area           2             MS. LYMAN: Objection. Form and foundation.
  3    accessible to his hands a search for weapons?                3       A. No. We've never broken it down like that.
  4            MS. LYMAN: Objection. Form and foundation.           4       Q. (BY MS. KENNEDY) Okay. Have you ever heard
  5         A. Yeah.                                                5   the term passively noncompliant?
  6         Q. (BY MS. KENNEDY) Did you check his back              6             MS. LYMAN: Objection. Foundation.
  7    pockets for weapons?                                         7       A. I have heard that term.
  8        A. I don't remember checking his back pockets.           8       Q. (BY MS. KENNEDY) Who has introduced the
  9         Q. Well, you said you could see the front of            9   term passively noncompliant to you?
 10    his body and you could never see the back of his body.      10       A. I think it's come up at FLETC.
 11             So did you ever clear the back of his body         11       Q. So in 2005 or later in your training?
 12    to see whether he had any weapons in his back pockets?      12       A. 2005 I'm sure that it was discussed.
 13            MS. LYMAN: Objection. Form and foundation.          13       Q. What does passive compliance mean?
 14         A. I don't remember checking his back pockets.         14       A. Passive compliance?
 15         Q. (BY MS. KENNEDY) For weapons?                       15       Q. Right.
 16         A. For weapons.                                        16             UNIDENTIFIED SPEAKER: Passive
 17         Q. Right. Did you -- did you check his front           17   noncompliance.
 18    pockets for weapons?                                        18       Q. (BY MS. KENNEDY) I'm sorry. What did
 19        A. No. Once he was handcuffed, that was not             19   passive not -- what does passive noncompliance mean?
 20    accessible to his hands.                                    20       A. Okay. It just means that they're -- they're
 21         Q. Okay. So when you say you patted him down,          21   refusing to cooperate.
 22    what area of his body did you pat down?                     22       Q. So you would agree that passive
 23        A. Okay. Just along the -- the belt line there          23   noncompliance means he did not follow your commands but
 24    when I -- when I -- because the first hand I did out --     24   that he did not physically close distance or physically
 25    out, like this (indicating).                                25   threaten you.


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  1            And then I brought it around and brought the         1             MS. LYMAN: Objection. Form and foundation.
  2    other hand up and secured it and patted that area. And       2       A. Okay. We've established that he did not
  3    that would just be consistent with my training.              3   follow any of my commands. He --
  4         Q. So you're testifying to that because it's            4       Q. (BY MS. KENNEDY) Okay. I'm going to stop
  5    consistent with your training to check around the --         5   you there. But he did not follow your command to turn
  6    someone's waist for weapons? Is that what you did? You       6   around. Correct?
  7    slide your hand around his waist?                            7       A. Correct.
  8         A. Yeah. Just -- if you -- if you can just get          8       Q. All right. When he did not follow your
  9    a sense of something, you know, without being intrusive.     9   command to turn around, did you believe at that point you
 10    Okay. It's possible you could miss something.               10   could use your Taser on him?
 11         Q. So you didn't find any weapons when you put         11       A. No.
 12    your hand across Gage's waist?                              12       Q. Okay. And at the time that he did not turn
 13        A. No, I don't remember that. That I -- no, I           13   around, he did not close distance on you, did he?
 14    didn't remember finding anything.                           14             MS. LYMAN: Objection. Form and foundation.
 15         Q. Right. And you know that you didn't find            15       A. No.
 16    anything. Right?                                            16       Q. (BY MS. KENNEDY) And at the time that he
 17        A. Correct.                                             17   did not turn around, he did not physically threaten you,
 18         Q. Okay. Pursuant to National Park Service             18   did he?
 19    policy what level of resistance must a suspect display to   19       A. He made the comment about, "No, the other
 20    justify the use of a Taser?                                 20   one."
 21         A. Okay. It could be used when a suspect is            21       Q. Okay. So he did that before you ordered him
 22    actively resisting.                                         22   to turn around. Right?
 23         Q. Do you have training when describing a              23       A. I had ordered him to turn around I believe
 24    suspect's resistance to categorize the resistance by the    24   twice and he refused. And I drew the Taser and had it --
 25    level of physical resistance such as passive, active, or    25   had a display. He said, "No, the other one."



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  1               I asked him, "What?"                              1   by I'm going to have to use the other one?"
  2               He said, "No. The other one. Get real with        2              MS. LYMAN: Objection. Form.
  3    me."                                                         3        A. No, I didn't ask him.
  4        Q. So have you watched the video on one of the           4        Q. (BY MS. KENNEDY) Did you ask him, "Why did
  5    breaks during the deposition?                                5   you say that? What a strange thing to say"?
  6        A. No.                                                   6        A. No, I didn't.
  7           Q. Okay. So this is from your memory?                 7              MS. LYMAN: Objection. Form.
  8           A. Yes.                                               8        Q. (BY MS. KENNEDY) Why not?
  9         Q. Okay. You watched the video of your                  9        A. To me that's a serious threat. He's telling
 10    interaction with Gage Lorentz on Sunday. Correct?           10   me that he wants to escalate this to the need for a
 11         A. Yes.                                                11   firearm.
 12         Q. Okay. And that's the last time you saw the          12        Q. So at that time you didn't ask him to
 13    video?                                                      13   determine whether it was a threat. You agree that you
 14         A. Correct.                                            14   failed to ask him to determine what his words meant.
 15          Q. Right. So you're testifying based on               15              MS. LYMAN: Objection. Form.
 16    reviewing the video. Right?                                 16        A. I didn't feel a need to ask him what his
 17          A. Yeah. I remember -- I remember telling him         17   words meant.
 18    to, "Turn around and put your hands behind your back" a     18        Q. (BY MS. KENNEDY) Why not?
 19    couple of times.                                            19        A. That's -- that's not a conversation I want
 20            And then I remember when I said, "I've told         20   to have with somebody who's -- who's not following lawful
 21    you to turn around and put your hands behind your back.     21   commands.
 22    Are you going to do it or not."                             22        Q. Why not? Why -- why weren't you trained to
 23            "No."                                               23   use language at that point to de-escalate the situation
 24          Q. So -- so after you pulled out your Taser is        24   by saying, "Sir, what do you mean when you say I'm going
 25    when he said, "You're going to have to use the other        25   to have to use the other one? I don't want to use any


                                                        Page 323                                                         Page 325
  1    one." Right?                                                 1   force here, sir. What's going on"?
  2         A. Yes.                                                 2              MS. LYMAN: Objection. Form and foundation.
  3         Q. And those words, you thought, indicated              3        Q. (BY MS. KENNEDY) Why couldn't you engage
  4    something beyond passive noncompliance?                      4   him in de-escalation communication at that point?
  5              MS. LYMAN: Objection. Form and foundation.         5       A. He -- he's made it clear to me that he's not
  6         A. No. What it indicated to me was that he              6   willing to cooperate, and I don't think that he's going
  7    intended to escalate the matter.                             7   to change anything.
  8         Q. (BY MS. KENNEDY) Okay. Why? Why did the              8        Q. So if you hadn't had used the Taser, he
  9    words, "You're going to have to use the other one"           9   wouldn't have changed anything?
 10    indicate that he sometime in the future might -- I mean,    10              MS. LYMAN: Objection. Form and foundation.
 11    how did those words indicate to you that he would           11        Q. (BY MS. KENNEDY) He just would have stood
 12    escalate the matter?                                        12   there saying things like, "You're going to have to use
 13              MS. LYMAN: Objection. Form.                       13   the other one"?
 14         A. I don't think that that's a reasonable              14        A. No. I think he was prepared to go after the
 15    response from somebody who is joking around.                15   other one.
 16         Q. (BY MS. KENNEDY) Okay. So you didn't ask            16        Q. Okay. I'm going to direct your attention to
 17    him, "Hey. What did you mean by that? Why did you say       17   Plaintiffs' Exhibit T that's in your notebook there.
 18    that?"                                                      18                (Exhibit T marked.)
 19         A. I did ask him. I asked him to repeat that           19              MS. LYMAN: It's the last tab.
 20    for me.                                                     20        Q. (BY MS. KENNEDY) When you deployed the
 21         Q. And did he -- you did? You said, "Repeat            21   Taser, how many times did you pull the trigger?
 22    that for me"?                                               22        A. Two, I think.
 23         A. I just said, "What?"                                23        Q. Why do you think you only pulled the trigger
 24         Q. Okay. Did you say -- did you say -- since           24   two times when you deployed the Taser?
 25    you didn't know his name, did you say, "What do you mean    25          MS. LYMAN: Objection. Form.



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  1         A. Okay. I believed that I deployed each of            1    testimony under oath that you don't have any memory of
  2    the two cartridges unsuccessfully.                          2    pulling the trigger on the Taser after the first two
  3         Q. (BY MS. KENNEDY) Okay. And you pulled the           3    cartridges came out?
  4    trigger twice. Did you reassess each time you pulled the    4           A. Correct.
  5    trigger of the Taser?                                       5           Q. Okay. So on the first page of Plaintiffs'
  6         A. Yes. I noticed that nothing happened.               6    Exhibit T there is a still from your body-worn camera.
  7         Q. Okay. So you pulled the trigger of the              7    And there is a note from transcript at line 1545: So I
  8    Taser once; you noticed that nothing happened. Gage,        8    kept the Taser out he and he just stared at me, fists
  9    even though you had Tased him, just continued to stand      9    clenched, looking at me. And just like I was taught
 10    there. Correct?                                             10   at -- F-l-e-t-c -- how do you say that?
 11         A. Yes.                                                11          A. FLETC.
 12            MS. LYMAN: Objection. Form and foundation.          12          Q. -- FLETC, you know, if you have pre-assault
 13         Q. (BY MS. KENNEDY) At that point did you              13   indicators, don't wait around to get assaulted. Take the
 14    reassess the threat you were under when after being Tased   14   fight to them.
 15    he just stood there?                                        15             So at that point, this is the last frame
 16            MS. LYMAN: Objection. Form and foundation.          16   before you -- what pre-assaultive behaviors do you see
 17         Q. (BY MS. KENNEDY) Did you reassess the               17   depicted in this still?
 18    threat at that point?                                       18          A. Okay. We had -- we had the verbal comment,
 19         A. Yeah.                                               19   okay. And then now we have him standing there. Now he
 20         Q. How many seconds passed between the first           20   has his hands at his side. Okay. And he had -- I had
 21    time and the second time you pulled the Taser?              21   told him several times to take his hands out of his
 22         A. Probably five seconds.                              22   pockets.
 23         Q. Oh, okay. And in that five seconds what             23          Q. Okay. On the second page, 2, it says: So I
 24    happened?                                                   24   deployed the Taser. And I did see one barb go into him,
 25         A. I don't remember anything.                          25   but he just stood there. And I went in for a drive-stun,


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  1        Q. Right. Gage just stood there for the five            1    but no effect.
  2    seconds that you continued to -- so nothing had changed     2              So this still that is under the still of the
  3    because he'd spoken those words. Is that what you were      3    hand here, is that your two arms as you're pointing the
  4    thinking?                                                   4    Taser at Gage Lorentz?
  5           MS. LYMAN: Objection. Form and foundation.           5           MS. LYMAN: Objection. Form and foundation.
  6        Q. (BY MS. KENNEDY) And even though you Tased           6           Q. (BY MS. KENNEDY) Depicted on Axon body
  7    him, he just stood there. Right?                            7    camera 2, the still at 9 minutes, 17 seconds?
  8        A. That's what I remember.                              8           A. You're talking about the second photo on the
  9        Q. Okay. And so, in light of the fact that he           9    lower one?
 10    didn't escalate the situation, he just stood there, you     10          Q. Yes.
 11    reassessed. What in your reassessment at that point         11          A. Okay.
 12    caused you to pull -- pull the trigger a second time?       12          Q. I'm sorry. That was incorrectly done. The
 13           MS. LYMAN: Objection. Form and foundation.           13   first photo on top is out of sequence. But the second
 14        A. That there was no effect from the first              14   photo on the bottom, does that depict you pointing the
 15    Taser cartridge deployment.                                 15   Taser at Gage Lorentz?
 16        Q. (BY MS. KENNEDY) Okay. So you saw that               16          A. It appears so, but I can't -- I can't see
 17    Tasing -- pulling the Taser once didn't do anything. And    17   him.
 18    you pulled the Taser trigger again and it didn't do         18          Q. You can't see him under your watch?
 19    anything again. Correct?                                    19          A. Okay. Yeah. I see that there's a person
 20        A. Yes.                                                 20   there.
 21        Q. And after that, how many times did you pull          21          Q. And so can you see now, can you deduce, from
 22    the trigger on the Taser?                                   22   your knowledge of the incident and your review of the
 23        A. I don't remember pulling it again.                   23   body-worn camera, that you were pointing your Taser at
 24           MS. LYMAN: Objection. Form and foundation.           24   Gage Lorentz?
 25        Q. (BY MS. KENNEDY) Okay. So it's your                  25      A. Yes.



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  1    Exhibit S. What does that depict?                            1   control of your handgun when you pulled it out from the
  2         A. It looks like a beer can.                            2   holster when you were with Gage Lorentz?
  3         Q. How did that beer can get into your vehicle?         3           MS. LYMAN: Objection. Form and foundation.
  4         A. I'm sure that I picked it up while I was             4        Q. (BY MS. KENNEDY) What in your training made
  5    picking up litter.                                           5   you do that, that they said to you, "I'm in the middle of
  6             MS. KENNEDY: All right. Well, I will go             6   a on-the-ground fight with a suspect."
  7    off the record and see if there's any brief follow-up        7           What in the training told you that you could
  8    questions. If not, do you have any questions?                8   keep control of your handgun when you pulled it out from
  9             MR. ORTEGA: Give us a second.                       9   the holster?
 10             THE VIDEOGRAPHER: The time is 5:58 p.m. We         10           MS. LYMAN: Objection. Form and foundation.
 11    are off the record.                                         11        A. I'm not sure that there's any specific
 12        (Break taken from 5:58 p.m. to 6:07 p.m.)               12   training. The training is designed to instill confidence
 13             THE VIDEOGRAPHER: The time is 6:07 p.m. We         13   in the officer.
 14    are on the record.                                          14        Q. (BY MS. KENNEDY) So you were just confident
 15         Q. (BY MS. KENNEDY) Ranger Mitchell, were you          15   in everything that you did on that day based on your
 16    confident that you could keep control of your handgun       16   training; it just made you confident that you could pull
 17    when you pulled it from your holster?                       17   out a gun when you were on the ground with a suspect from
 18             MS. LYMAN: Objection. Form and foundation.         18   the holster and keep control of it?
 19         A. Yes.                                                19           MS. LYMAN: Objection. Form and foundation.
 20         Q. (BY MS. KENNEDY) Why were you confident             20        A. I am -- I am confident that I acted in
 21    that you could keep control of your handgun when you        21   accordance with my training that day.
 22    pulled it from the holster?                                 22           MS. KENNEDY: Okay. Pass the witness.
 23         A. Because of my training.                             23                     * * *
 24         Q. What training made you confident that you           24                     EXAMINATION
 25    could keep control of your handgun when you pulled it       25   BY MS. LYMAN:


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  1    from the holster?                                            1        Q. Mr. Mitchell, I just want to ask you a few
  2         A. My training with the National Park Service           2   follow-up questions just so that we can make sure that we
  3    at the Federal Law Enforcement Training Center.              3   understand everything properly.
  4         Q. But what training specifically? What                 4           How long did your interaction with Gage last
  5    training told you that you could keep control of your        5   in your estimation between the time you exited your
  6    handgun when you pulled it from the holster when you were    6   vehicle to the time you fired that second shot?
  7    involved in a on-the-ground fight with Gage Lorentz?         7        A. I would say approximately two and a half to
  8            MS. LYMAN: Objection. Form and foundation.           8   three minutes.
  9         A. My defensive tactics training at the Federal         9        Q. And how much time would you say elapsed
 10    Law Enforcement Training Center.                            10   between when you fired your Taser at Mr. Lorentz and when
 11         Q. (BY MS. KENNEDY) What in your defensive             11   you fired that second shot?
 12    tactics training at the Federal Law Enforcement Training    12        A. 25 to 30 seconds would be my guess.
 13    Center made you confident that you could keep control of    13        Q. And how much time would you say elapsed
 14    your handgun when you pulled it from the holster?           14   between when the drive-stun failed and when you fired
 15            MS. LYMAN: Objection. Form and foundation.          15   that second shot?
 16         A. The weapons retention training.                     16        A. Perhaps 15 seconds.
 17         Q. (BY MS. KENNEDY) And what about your                17        Q. Is it fair to say, then, that the
 18    weapons retention training made you confident that you      18   altercation with Mr. Lorentz when it became physical
 19    could keep control of your handgun when you pulled it       19   lasted just a matter of seconds?
 20    from the holster?                                           20           MS. KENNEDY: Objection as to form and
 21            MS. LYMAN: Objection. Form and foundation.          21   foundation.
 22         A. The training -- the training was devised so         22        Q. (BY MS. LYMAN) You can answer.
 23    that you could use a firearm with -- with confidence.       23        A. Okay. The question again.
 24         Q. (BY MS. KENNEDY) What did they actually             24        Q. Would it be fair to say that the altercation
 25    teach or say that made you think that you could keep        25   with Mr. Lorentz when it became physical, hand to hand,



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                                                                                                                              Exhibit A
